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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

AILEEN GARCES, individually, and)
on behalf of all others similarly situated,
                                )
                                )
               Plaintiff,       )
                                )
          v.                    )                   No. 21 cv 719
                                )
GERBER PRODUCTS CO., and        )
THE HAIN CELESTIAL GROUP, INC., )
                                )
               Defendants.      )                   Jury Trial Demanded



                           CLASS ACTION COMPLAINT
       Plaintiff AILEEN GARCES (“Plaintiff”), individually, and on behalf of all others

similarly situated, by and through counsel at Zimmerman Law Offices, P.C., brings this Class

Action Complaint (“Complaint”) against Defendants GERBER PRODUCTS CO. (“Gerber”)

and THE HAIN CELESTIAL GROUP, INC. (“Hain”) (collectively, “Defendants”), as follows:

                                         INTRODUCTION

       1.      On February 4, 2021, the United States House of Representatives Committee on

Oversight and Reform’s Subcommittee on Economic and Consumer Policy (the “House

Subcommittee”) released a report entitled “Baby Foods Are Tainted with Dangerous Levels of

Arsenic, Lead, Cadmium, and Mercury” (the “Subcommittee Report”).                 See generally,

Subcommittee Report, attached hereto as Exhibit 1. According to the Subcommittee Report,

several brands of baby food sold in the United States contain unsafe levels of toxic heavy metals,

including those sold by Defendants. See, Subcommittee Report, p. 2.

       2.      Given the health risks associated with high levels of toxic heavy metals, the

presence of these substances in baby food is a material fact to consumers. Indeed, consumers—
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such as Plaintiff and members of the Class (defined below)—are unwilling to purchase baby food

that contains unsafe levels of toxic heavy metals.

        3.      Defendants knew that the presence of toxic heavy metals in their baby food was a

material fact to consumers, yet omitted and concealed that fact from consumers.

        4.      Accordingly, Plaintiff brings this suit on behalf of herself and a Class of similarly

situated individuals for damages resulting from Defendants’ sale of baby food that contained

unsafe levels of toxic heavy metals.

                                             PARTIES

        5.      Plaintiff AILEEN GARCES is a natural person and resident and citizen of Illinois.

        6.      Defendant GERBER PRODUCTS CO. is a Michigan corporation with its principal

place of business in Virginia. Gerber sells its baby food under the eponymous “Gerber” brand

name (“Gerber Brand Baby Food”). Gerber Brand Baby Food is sold nationwide, including

throughout the state of Illinois.

        7.      Defendant THE HAIN CELESTIAL GROUP, INC. is a Delaware corporation with

its principal place of business in New York. Hain sells its baby food under the “Earth’s Best

Organic” brand name (“Earth’s Best Brand Baby Food”). Earth’s Best Brand Baby Food is sold

nationwide, including throughout the state of Illinois.

                                    JURISDICTION AND VENUE

        8.      This Court has personal jurisdiction over Defendants pursuant to 735 ILCS 5/2-

209(a)(1) (transaction of any business within this State), section 2-209(a)(7) (the making or

performance of any contract or promise substantially connected with this State), section 2-

209(b)(4) (corporation doing business within this State), and section 2-209(c) (any other basis now

or hereafter permitted by the Illinois Constitution and the Constitution of the United States).


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        9.       This Court has original jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. § 1332(d). As set forth below, the proposed Class involves more than 100 individuals,

and the amount of controversy, in the aggregate, exceeds the sum of $5,000,000 exclusive of

interest and costs, given Defendants’ market reach and the approximate number of potential Class

members in the United States. Some members of the proposed Class are citizens of states different

from Defendants.

        10.      Venue is proper in this district under 28 U.S.C. § 1391, because a substantial part

of the events and omissions giving rise to the claims occurred in this district.

                                     FACTUAL ALLEGATIONS

                                        The Subcommittee Report

        11.      Inorganic arsenic, lead, cadmium, and mercury are toxic heavy metals. The United

States Food and Drug Administration (“FDA”) and the World Health Organization (“WHO”) have

declared these toxic heavy metals dangerous to human health. Specifically, the FDA states that

these toxic heavy metals have “no established health benefit,” “lead to illness, impairment, and in

high doses, death,” and because of bioaccumulation, “even low levels of harmful metals from

individual food sources, can sometimes add up to a level of concern.”1

        12.      The dangerous effects of these toxins are exacerbated and can be indelible in

developing and vulnerable bodies and brains of babies and children, who FDA explains are at the

greatest risk of harm. Subcommittee Report, p. 2. Exposure, such as ingestion, of toxic heavy

metals by babies and children leads to untreatable and permanent brain damage, resulting in

reduced intelligence and behavioral problems. For instance, scientific studies have connected




1
 FDA, Metals and Your Food, available at: https://www.fda.gov/food/chemicals-metals-pesticides-food/metals-and-
your-food.
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exposure to lead to a substantial decrease in children’s total IQ points and their lifetime earning

capacity. Subcommittee Report, p. 9.

       13.     “Exposure to toxic heavy metals [such as arsenic, lead, cadmium, and mercury]

causes permanent decreases in IQ, diminished future economic productivity, and increased risk of

future criminal and antisocial behavior in children. Toxic heavy metals endanger infant

neurological development and long-term brain function.” See, Subcommittee Report, p. 2.

       14.     Given these risks, and in response to reports alleging high levels of toxic heavy

metals in baby foods sold in the United States, the House Subcommittee launched an investigation

into the presence of toxic heavy metals in certain brands of baby foods, including Gerber Brand

Baby Food and Earth’s Best Brand Baby Food. See, Subcommittee Report, p. 2. The results of

the House Subcommittee’s investigation were set forth in the Subcommittee Report, which was

released on February 4, 2021.

                                Arsenic in Defendants’ Baby Food

       15.     According to the Subcommittee Report, arsenic was present in all brands of baby

foods subject to the House Subcommittee’s investigation. See, Subcommittee Report, p. 3. In

particular, Earth’s Best Brand Baby Food was found to contain as much as 129 parts per billion—

abbreviated as “ppb”—arsenic, and was made with ingredients that contained as high as 309 ppb

arsenic. See, Subcommittee Report, p. 3. Gerber Brand Baby Food used high-arsenic ingredients,

including rice flour that contained over 90 ppb arsenic. See, Subcommittee Report, p. 3.

       16.     For comparison, the FDA has set the maximum level of arsenic in bottled water at

10 ppb. See, Subcommittee Report, p. 4.

       17.     Arsenic is the most dangerous of the toxic heavy metals at issue and poses the most

significant risk to human health. See, Subcommittee Report, p. 10. Currently known risks of


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arsenic to health include respiratory, gastrointestinal, haematological, hepatic, renal, skin,

neurological and immunological effects, as well as damaging effects on the central nervous system

and cognitive development in children.”2

        18.     One study found negative effects in cognitive development of schoolchildren

exposed to concentrations of arsenic over 5 ppb. For the authors of the study, 5 ppb was an

important threshold for small children.3 Consumer reports has recommended setting the limit of

arsenic at 3 ppb.

        19.     Hain sold finished baby food products using ingredients (such as organic brown

rice flour) containing as much as 309 ppb arsenic, finished products contained as much as 129 ppb

arsenic. Subcommittee Report, p. 3.

        20.     Hain exceeded its own unreasonable and excessive internal standards. For many

ingredients in Earth’s Best Brand Baby Food, Hain set a standard for certain ingredients of 100

and up to 200 ppb for arsenic. Subcommittee Report, p. 16. Nevertheless, it approved and used a

vitamin pre-mix with arsenic levels of 223 ppb, more than twice the specific limit Hain itself set

at 100 ppb for this ingredient, which is itself way too high. See, Subcommittee Report, p. 16.

Numerous other ingredients were used in Earth’s Best Brand Baby Food that contained excessive

levels of arsenic according to Hain’s own testing, including organic whole raisins, organic soft

white wheat flour, organic spelt flour, organic barley malt extract, organic yellow split pea powder,

medium grain whole rice, organic brown rice flour, organic blueberry puree, organic barley flour,

organic cinnamon powder, and organic butternut squash puree.




2
  Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019), available at
http://www.atsdr.cdc.gov/spl/index.html#2019spl.
3
   Miguel Rodríguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure with
Neurodevelopment and Behavioural Disorders in Children: A Systematic Review and Meta-Analysis (June 1, 2013)
(online at https://pubmed.ncbi.nlm.nih.gov/23570911/).
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         21.     Gerber agreed to provide only limited data to the House Subcommittee, but the data

it provided shows that Gerber routinely used ingredients in Gerber Brand Baby Food that contained

over 90 ppb arsenic, including 67 batches of rice flour. Subcommittee Report, p. 19.

         22.     Gerber used grape juice concentrate in Gerber Brand Baby Food containing 39 ppb

inorganic arsenic. For apple juice concentrate, FDA has issued draft guidance requiring less than

10 ppb in organic arsenic. Subcommittee Report, p. 52.

                                    Lead in Defendants’ Baby Food

         23.     Lead was also present in all brands of baby foods subject to the House

Subcommittee’s investigation. See, Subcommittee Report, p. 3. In particular, Earth’s Best Brand

Baby Food was found to contain as much as 352 ppb lead, and was made with ingredients that

contained as high as 200 ppb lead. See, Subcommittee Report, p. 3. Gerber Brand Baby Food also

used high-lead ingredients in Gerber Brand Baby Food, including some that contained over 48 ppb

lead. See, Subcommittee Report, p. 3

         24.     For comparison, the FDA has set the maximum level of lead in bottled water at 5

ppb. See, Subcommittee Report, p. 4.

         25.     Lead is the second most dangerous of the toxic heavy metals at issue. Because lead

can accumulate in the body, even small doses of lead have deleterious effects on children,

including health, behavioral, cognitive, and development issues. The FDA states that “[h]igh levels

of lead exposure can seriously harm children’s health and development, specifically the brain and

nervous system.”4 There is a growing consensus that lead levels in baby foods should not exceed

1 ppb.



4
 FDA, Metals and Your Food, available at: https://www.fda.gov/food/chemicals-metals-pesticides-food/metals-and-
your-food.

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        26.      Two studies have established a significant association between early childhood

exposure to lead and decreased standardized test scores, academic achievement, and diseases such

as attention-deficit/hyperactivity disorder (“ADHD”). These effects last into adulthood according

to other studies.5

        27.      Hain, under its Earth’s Best Organic label, used ingredients (such as vitamin pre-

mix) containing as much as 352 ppb lead. 88 different ingredients in Earth’s Best Brand Baby

Food tested over 20 ppb lead and six ingredients tested over 200 ppb lead, including organic whole

wheat fine flour, organic quick oats, organic barley flour, organic cinnamon powder, and organic

date paste. Subcommittee Report, p. 26.

        28.      All of Hain’s ingredients contained 1 or more ppb of lead, the limit recommended

by some groups.

        29.      Gerber agreed to provide only limited data to the House Subcommittee, but the data

it provided shows that Gerber used ingredients in Gerber Brand Baby Food that tests show

contained as much as 48 ppb lead, and Gerber used many ingredients containing over 20 ppb lead,

including its juice ingredients and sweet potatoes. Subcommittee Report, p. 27. Gerber’s tested

juice concentrate measured an average of 11.2 ppb lead, which exceeds the 10 ppb standard for

bottled water set by FDA.




5
  Nanhua Zhang et al., Early Childhood Lead Exposure and Academic Achievement: Evidence From Detroit Public
Schools, available at: http://mediad.publicbroadcasting.net/p/michigan/files/201302/AJPH.2012.pdf; Anne Evens et
al., The Impact of Low-Level Lead Toxicity on School Performance Among Children in the Chicago Public Schools:
A           Population-Based           Retrospective           Cohort          Study,       available        at:
https://ehjournal.biomedcentral.com/articles/10.1186/s12940-015-0008-9; Maitreyi Mazumdar et al., Low-Level
Environmental Lead Exposure in Childhood and Adult Intellectual Function: A Follow-Up Study, available at:
www.ncbi.nlm.nih.gov/pmc/articles/PMC3072933/.

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                                      Cadmium in Defendants’ Baby Food

           30.      Cadmium was another toxic heavy metal found to be present in all brands of baby

foods subject to the House Subcommittee’s investigation. See, Subcommittee Report, p. 3. In

particular, Earth’s Best Brand Baby Food used 102 ingredients that contained over 20 ppb

cadmium, with some of those ingredients containing up to 260 ppb cadmium. See, Subcommittee

Report, p. 3.

           31.      Certain Gerber Brand Baby Foods were made with ingredients that contained over

87 ppb cadmium. See, Subcommittee Report, p. 4.

           32.      For comparison, the FDA has set the maximum level of cadmium in bottled water

at 5 ppb. See, Subcommittee Report, p. 4.

           33.      Cadmium is the seventh most dangerous heavy metal toxin according to the

ATSDR. Exposure to cadmium is linked with decreases in IQ and development of ADHD. The

EPA and FDA set the limit at 5 ppb of cadmium in drinking water and bottled water, respectively.

The WHO limits cadmium in drinking water at 3 ppb. Certain experts recommend an upper limit

of 1 ppb of cadmium in fruit juices.

           34.      In Earth’s Best Brand Baby Food, Hain used 102 ingredients with 20 ppb cadmium

or higher. Some ingredients (such as organic barley flour) tested as high as 260 ppb cadmium.

Subcommittee Report, pp. 30–31. Other individual ingredients in Earth’s Best Brand Baby Food

containing excessive cadmium include: a product described as IQF6 organic chopped broccoli,

organic date past, organic cinnamon powder, organic brown flax milled, organic yellow papaya

puree, organic whole wheat fine flour, organic red lentils, organic oat flakes, and organic oat flour.




6
    IQF likely means individually quick-frozen, a method for freezing foods that prevents ice crystals.
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        35.     Gerber used carrots in Gerber Brand Baby Food, 75% of which contained between

5 and 87 ppb cadmium. Subcommittee Report, p. 4.

                                  Defendants’ Internal Testing

        36.     The House Subcommittee also sought to investigate the presence of mercury in

baby food, but found that Hain did not even test for mercury in Earth’s Best Brand Baby Food,

and that Gerber “rarely” tested for mercury in Gerber Brand Baby Food. See, Subcommittee

Report, p. 4.

        37.     The Subcommittee Report also noted that Hain routinely exceeded its own internal

limits relative to the use of ingredients with arsenic, lead, and cadmium in Earth’s Best Brand

Baby Food. See, Subcommittee Report, p. 4. Although Hain attempted to justify these deviations

from its internal standards, it “admitted to FDA that its testing underestimated final product toxic

heavy metal levels.” See, Subcommittee Report, pp. 4-5.

                                      Defendants’ Baby Food

        38.     Defendants each manufacture, distribute, advertise, market, and sell brands of baby

food evaluated in the Subcommittee Report. Gerber manufactures, distributes, advertises, markets,

and sells Gerber Brand Baby Food, and Hain manufactures, distributes, advertises, markets, and

sells Earth’s Best Brand Baby Food.

        39.     Defendants each direct, control, and participate in the manufacturing and packaging

of the brands of baby food that they sell. As part of that direction, control, and participation,

Defendants each determine and are responsible for the ingredients used in their baby food.

        40.     Defendants each know and are responsible for the ingredients in the brands of baby

food that they sell.




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        41.      Defendants each created, developed, reviewed, authorized, and are responsible for

the textual and graphic content on the packaging of the brands of baby food that they sell. This is

supported by the fact that the labels on Gerber Brand Baby Food contain Gerber’s corporate logo

and trademark, and note that Gerber Brand Baby Food is distributed by Gerber. Similarly, the

labels on Earth’s Best Brand Baby Food contain the Earth’s Best trademark—which is one of

Hain’s federally registered trademarks—and note that Earth’s Best Brand Baby Food is distributed

by Hain.

        42.      Each package of Earth’s Best Brand Baby Food contains standardized labeling

created, developed, reviewed, and authorized by Hain. The packaging of all types of Earth’s Best

Brand Baby Food is the same or substantially similar.

        43.      Each package of Gerber Brand Baby Food contains standardized labeling created,

developed, reviewed, and authorized by Gerber. The packaging of all types of Gerber Brand Baby

Food is the same or substantially similar.

        44.      Defendants each know, created, developed, reviewed and are responsible for the

representations contained on each package of baby food that they sell.

        45.      The labels on some of the varieties of Gerber Brand Baby Food—including some

of those that Plaintiff and Class members purchased—state that the product contains “iron to help

support learning ability.”

        46.      The labels on some of the varieties of Earth’s Best Brand Baby Food—including

some of those that Plaintiff and Class members purchased—state that the product contains used

“non-BPA packaging.” BPA stands for bisphenol A, “an industrial chemical that has been used to

make certain plastics and resins since the 1960s” that is linked to certain health issues.7 In other


7
    Mayo Clinic, What is BPA, and What Are the Concerns About BPA?, available at:
https://www.mayoclinic.org/healthy-lifestyle/nutrition-and-healthy-eating/expert-answers/bpa/faq-20058331 (“Some
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words, these varieties of Earth’s Best Brand Baby Food are marketed as lacking a particular

dangerous substance that can negatively affect brain development and children’s behavior.

         47.      The labels on many varieties of Gerber Brand Baby Food and Earth’s Best Brand

Baby Food—including some of those that Plaintiff and Class members purchased—also tout those

products as being free of GMO—which stands for “genetically modified organism”—ingredients.

Like BPA, GMOs are also believed to be associated with health risks, “including infertility,

immune problems, accelerated aging, faulty insulin regulation and changes in major organs and

the gastrointestinal system.”8 As such, these varieties of Gerber Brand Baby Food and Earth’s

Best Brand Baby Food are marketed as lacking a particular dangerous substance that can

negatively affect consumers of the product.

         48.      Despite touting the lack of certain dangerous substances in their respective brands

of baby food, Defendants each fail to disclose elevated levels of toxic heavy metals on the labels

of Earth’s Best Brand Baby Food and Gerber Brand Baby Food.

         49.      Similarly, despite touting the presence of “iron to help support learning ability” in

Gerber Brand Baby Food, Gerber fails to disclose the fact that its baby food contains other

substances—toxic heavy metals—that have the exact opposite effect.

         50.      While Defendants’ respective omissions regarding the material fact that their

brands of baby food contain elevated levels of toxic heavy metals are legally significant on their

own, Defendants’ respective representations regarding the presence of “iron to help support

learning ability” and the lack of BPA and GMOs are also significant.                              Although these



research has shown that BPA can seep into food or beverages from containers that are made with BPA,” which “is a
concern because of possible health effects of BPA on the brain and prostate gland of fetuses, infants and children. It
can also affect children's behavior. Additional research suggests a possible link between BPA and increased blood
pressure.”).
8
  CNN, 10 Ways to Keep Your Diet GMO-Free, available at: https://www.cnn.com/2014/03/25/health/upwave-gmo-
free-diet/index.html.
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representations may be true, “a statement that is technically true may nevertheless be fraudulent

where it omits qualifying material since a ‘half-truth’ is sometimes more misleading than an

outright lie.” Abazari v. Rosalind Franklin Univ. of Med. & Sci., 2015 IL App (2d) 140952, ¶ 33

(citing cases); see also Heider v. Leewards Creative Crafts, Inc., 245 Ill.App.3d 258, 265 (2nd

Dist. 1993) (“A statement which is technically true as far as it goes may nonetheless be fraudulent

if it is misleading because it does not state matters which materially qualify that statement.”); W.

Prosser, Law of Torts § 106, at 696 (4th ed. 1971) (“half the truth may obviously amount to a lie,

if it is understood to be the whole.”).

       51.     For example, in representing that Earth’s Best Brand Baby Food and Gerber Brand

Baby Food lack BPA and GMOs, Defendants represent that their respective brands of baby food

lack substances that consumers would consider to be deleterious to human health. This is,

however, only a “half-truth” as Earth’s Best Brand Baby Food and Gerber Brand Baby Food do,

in fact, contain deleterious substances—i.e., toxic heavy metals.

       52.     Gerber’s representations regarding the presence of “iron to help support learning

ability” in Gerber Brand Baby Food is also a “half-truth,” as it fosters the understanding that the

ingredients in Gerber Brand Baby Food will promote childhood brain development, when, in fact,

Gerber Brand Baby Food contains toxic heavy metals, which are proven to impede childhood brain

development.

                          Consumer Expectations Regarding Baby Food

       53.     Parents’ instinctive desire to protect and ensure the healthy development of their

children is well-known. As such, the safety of baby food is of paramount importance, and is a

material fact, to consumers (such as Plaintiff and Class members).




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       54.      More specifically, given the negative effects of toxic heavy metals (such as arsenic,

lead, cadmium, and mercury) on child development, the presence of these substances in baby food

is a material fact to consumers (such as Plaintiff and members of the Class). Indeed, consumers—

such as Plaintiff and members of the Class—are unwilling to purchase baby food that contains

elevated levels of toxic heavy metals.

       55.      Defendants each know that the safety of their respective brands of baby food (as a

general matter) is a material fact to consumers. This is exemplified by the fact that Earth’s Best

Brand Baby Food and Gerber Brand Baby Food are both marketed and labeled as lacking certain

substances (e.g., BPA, GMOs) that consumers believe would be deleterious to the health of

children.

       56.      Defendants each also know that consumers (such as Plaintiff and members of the

Class) are unwilling to purchase their respective brands of baby food that contain elevated levels

of toxic heavy metals.

       57.      As such, Defendants also know that the presence of toxic heavy metals in their

respective brands of baby food is a material fact to consumers (such as Plaintiff and Class

members).

       58.      Baby food manufacturers (such as Defendants) hold a special position of public

trust. Consumers believe that they would not sell products that are unsafe. See, Subcommittee

Report, p. 6.

       59.      Defendants each knew that if the elevated levels of toxic heavy metals in their

respective brands of baby food was disclosed to Plaintiff and Class members, then Plaintiff and

Class members would be unwilling to purchase Earth’s Best Brand Baby Food and/or Gerber

Brand Baby Food.


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          60.   In light of Defendants’ respective knowledge that Plaintiff and Class members

would be unwilling to purchase Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food if

they knew that those brands of baby food contained elevated levels of toxic heavy metals,

Defendants intentionally and knowingly concealed this fact from Plaintiff and Class members, and

did not disclose the presence of these toxic heavy metals on the labels of Earth’s Best Brand Baby

Food and Gerber Brand Baby Food (respectively).

          61.   Defendants knew that Plaintiff and Class members would rely upon the

representations and omissions contained on the packages of Earth’s Best Brand Baby Food and

Gerber Brand Baby Food (respectively), and intended for them to do so.

          62.   Defendants knew that in relying upon the representations and omissions contained

on the packages of Earth’s Best Brand Baby Food and Gerber Brand Baby Food (respectively),

Plaintiff and Class members would view those products as being safe for consumption, given their

represented lack of certain deleterious substances (e.g., BPA, GMOs), and Defendants’

concealment of the fact that those brands of baby food contained elevated levels of toxic heavy

metals.

          63.   Prior to purchasing Earth’s Best Brand Baby Food and Gerber Brand Baby Food,

Plaintiff and Class members were exposed to, saw, read, and understood Defendants’ respective

representations and omissions regarding the safety of their baby food, and relied upon them.

          64.   As a result of Defendants’ respective representations regarding the safety of their

baby food, and the lack of certain deleterious substances (e.g., BPA, GMOs), and Defendants’

concealment of the fact that those brands of baby food contained elevated levels of toxic heavy

metals, Plaintiff and Class members reasonably believed that Earth’s Best Brand Baby Food and




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Gerber Brand Baby Food were free from substances that would negatively affect children’s

development.

       65.     In reliance upon Defendants’ respective representations and omissions, Plaintiff

and Class members purchased Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food.

       66.     Had Plaintiff and Class members known the truth—i.e., that Defendants’ respective

brands of baby food contained elevated levels of toxic heavy metals, rendering them unsafe for

consumption by children—they would not have been willing to purchase them at all.

       67.     Therefore, as a direct and proximate result of Defendants’ misrepresentations and

omissions concerning their respective brands of baby food, Plaintiff and Class members purchased

Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food.

       68.     Plaintiff and Class members were harmed in the form of the monies they paid for

Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food which they would not otherwise

have paid had they known the truth. Since the presence of elevated levels of toxic heavy metals

in baby food renders it unsafe for human consumption, the Earth’s Best Brand Baby Food and/or

Gerber Brand Baby Food that Plaintiff and Class members purchased is worthless.

                                   Facts Relevant to Plaintiff

       69.     Between November 2020 and February 4, 2021, Plaintiff purchased several

different varieties of Earth’s Best Brand Baby Food and Gerber Brand Baby Food from

Amazon.com and Target. Many of the varieties of Earth’s Best Brand Baby Food and Gerber

Brand Baby Food contained ingredients (and contaminants) discussed in the Subcommittee

Report. Plaintiff’s relevant purchases include:

               a.     Earth’s Best Brand Baby Food from Hain containing organic raisins,
                      organic rice flour, organic blueberry puree, organic whole grain barley
                      flour, organic brown flax milled, organic cinnamon, organic whole grain oat
                      flour with excessive levels of arsenic, including: Earth’s Best Organic

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                      Blueberry Banana Flax & Oat Wholesome Breakfast Puree on February 4,
                      2021; Earth’s Best Organic Apple Peach Oatmeal Wholesome Breakfast
                      Puree on January 23, 2021; Earth’s Best Apple Raisin Flax & Oat
                      Wholesome Breakfast Puree on January 1, 9, 15 and 21, 2021; Earth’s Best
                      Sweet Potato Cinnamon Flax & Oat Wholesome Breakfast Puree on
                      January 9, 15, 21 and 23, 2021; and Earth’s Best Organic Rice Cereal on
                      November 22, 2020.

               b.     Earth’s Best Brand Baby Food from Hain containing organic raisins,
                      organic barley flour, organic cinnamon powder, and vitamin pre-mix with
                      excessive levels of lead, including: Earth’s Best Organic Blueberry Banana
                      Flax & Oat Wholesome Breakfast Puree on February 4, 2021; Earth’s Best
                      Apple Raisin Flax & Oat Wholesome Breakfast Puree on January 1, 9, 15
                      and 21, 2021; and Earth’s Best Sweet Potato Cinnamon Flax & Oat
                      Wholesome Breakfast Puree on January 15, 21 and 23, 2021.

               c.     Earth’s Best Brand Baby Food from Hain containing organic barley flour,
                      organic cinnamon powder, and organic brown flax with excessive levels of
                      cadmium, including: Earth’s Best Apple Raisin Flax & Oat Wholesome
                      Breakfast Puree on January 1, 9, 15 and 21, 2021; and Earth’s Best Sweet
                      Potato Cinnamon Flax & Oat Wholesome Breakfast Puree on January 15,
                      21 and 23, 2021.

               d.     Gerber’s Teethers Strawberry Apple Spinach Wafers containing dried apple
                      juice with excessive levels of lead on February 2, 2021.

               e.     Gerber’s Teethers Banana Peach Wafers and Strawberry Apple Spinach
                      Wafers containing rice flour with excessive levels of toxic heavy metals on
                      February 2, 2021.

       70.     Prior to purchasing Earth’s Best Brand Baby Food and Gerber Brand Baby Food,

Plaintiff and Class members were exposed to, saw, read, and understood Defendants’ respective

representations and omissions regarding the safety of their baby food, as well as the presence of

elevated levels of toxic heavy metals therein, and relied upon them.

       71.     Plaintiff was only willing to purchase Earth’s Best Brand Baby Food and Gerber

Brand Baby Food because she believed that they did not contain elevated levels of toxic heavy

metals. This belief was bolstered by Defendants’ representations regarding the presence of iron,

and the lack of BPA and GMOs, in their respective brands of baby food.


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       72.     In reliance upon Defendants’ respective representations and omissions, Plaintiff

purchased Earth’s Best Brand Baby Food and Gerber Brand Baby Food.

       73.     Had Plaintiff known the truth—i.e., that Defendants’ respective brands of baby food

contained elevated levels of toxic heavy metals, rendering them unsafe for consumption by

children—she would not have been willing to purchase them at all.

       74.     The presence of elevated levels of toxic heavy metals in Earth’s Best Brand Baby

Food and Gerber Brand Baby Food renders the baby food that Plaintiff purchased worthless, as it

is unsafe for human consumption.

       75.     Therefore, as a direct and proximate result of Defendants’ misrepresentations and

omissions concerning their respective brands of baby food, Plaintiff was harmed in the form of the

monies she paid for Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food which she

would not otherwise have paid had she known the truth.

       76.     Plaintiff brings this action on behalf of herself, and a Class of similar situated

individuals, seeking recovery of the damages they incurred as a result of Defendants’ deception.

                                    CLASS ALLEGATIONS

       77.     Class Definition: Plaintiff brings this action pursuant to Fed. R. Civ. P. 23, on

behalf of a nationwide class of similarly situated individuals and entities (“the Class”), defined as

follows:

               All persons in the United States who purchased Earth’s Best Brand Baby Food
               and/or Gerber Brand Baby Food.

Excluded from the Class are: (1) Defendants, Defendants’ agents, subsidiaries, parents, successors,
predecessors, and any entity in which Defendants or their parents have a controlling interest, and
those entities’ current and former employees, officers, and directors; (2) the Judge to whom this
case is assigned and the Judge’s immediate family; (3) any person who executes and files a timely
request for exclusion from the Class; (4) any persons who have had their claims in this matter
finally adjudicated and/or otherwise released; and (5) the legal representatives, successors and
assigns of any such excluded person.

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       78.     Illinois Subclass Definition: Plaintiff also brings this action pursuant to Fed. R.

Civ. P. 23, on behalf of a subclass of similarly situated individuals and entities (“Illinois

Subclass”), defined as follows:

               All persons in Illinois who purchased Earth’s Best Brand Baby Food and/or Gerber
               Brand Baby Food.

Excluded from the Illinois Subclass are: (1) Defendants, Defendants’ agents, subsidiaries, parents,
successors, predecessors, and any entity in which Defendants or their parents have a controlling
interest, and those entities’ current and former employees, officers, and directors; (2) the Judge to
whom this case is assigned and the Judge’s immediate family; (3) any person who executes and
files a timely request for exclusion from the Illinois Subclass; (4) any persons who have had their
claims in this matter finally adjudicated and/or otherwise released; and (5) the legal
representatives, successors and assigns of any such excluded person.

       79.     Numerosity: The Class and Illinois Subclass are each so numerous that joinder of

individual members would be impracticable. While the exact number of Class members and

Illinois Subclass members is presently unknown and can only be ascertained through discovery,

Plaintiff believes that there are thousands of Class and Illinois Subclass members, if not more, as

Gerber and Hain are two of the seven largest manufacturers of baby food in the United States. See,

Subcommittee Report, p. 2.

       80.     Commonality and Predominance: There are several questions of law and fact

common to the claims of the Plaintiff and members of the Class, which predominate over any

individual issues, including:

               a.    Whether the Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food
                     contain unsafe levels of toxic heavy metals;

               b.    Whether Defendants misrepresented to Plaintiff and Class members that
                     Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food was safe for
                     human consumption and did not contain elevated levels of toxic heavy metals;

               c.    Whether Defendants omitted and concealed the fact that Earth’s Best Brand
                     Baby Food and/or Gerber Brand Baby Food contained elevated levels of toxic
                     heavy metals;

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               d.   Whether the presence of elevated levels of toxic heavy metals in Earth’s Best
                    Brand Baby Food and/or Gerber Brand Baby Food was a material fact to
                    Plaintiff and Class members;

               e.   The extent and amount of Plaintiff’s and Class members’ damages;

               f.   Whether Defendants’ conduct constitutes unfair or deceptive business
                    practices under the Illinois Consumer Fraud and Deceptive Trade Practices
                    Act;

               g.   Whether Defendants violated the Consumer Fraud and Deceptive Trade
                    Practices Acts of the fifty states and the District of Columbia;

               h.   Whether Defendants’ conduct constitutes fraudulent concealment;

               i.   Whether Defendants’ conduct violates the Illinois Food, Drug, and Cosmetic
                    Act;

               j.   Whether Defendants’ conduct resulted in Defendants unjustly retaining a
                    benefit to the detriment of Plaintiff and Class members, and violated the
                    fundamental principles of justice, equity, and good conscience.

        81.    Typicality: Plaintiff’s claims are typical of the claims of the proposed Class. All

claims are based on the same legal and factual issues, to wit: Defendants’ misrepresentations and

omissions concerning the presence of elevated levels of toxic heavy metals in Earth’s Best Brand

Baby Food and/or Gerber Brand Baby Food.

        82.    Adequacy: Plaintiff will fairly and adequately represent and protect the interests of

the proposed Class, and Plaintiff does not have any interests antagonistic to those of the proposed

Class. Plaintiff has retained competent counsel experienced in the prosecution of this type of

litigation.

        83.    Superiority: A class action can best secure the economies of time, effort and

expense, and promote uniformity. A class action is superior to other available methods for the fair

and efficient adjudication of this controversy. The expense and burden of individual litigation

would make it impracticable or impossible for proposed Class members to prosecute their claims

individually. Individual actions are not economically feasible and it is unlikely that individual

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members of the Class will prosecute separate actions. The trial and the litigation of Plaintiff’s

claims are manageable.

                                           COUNT I
                       (on Behalf of Plaintiff and the Illinois Subclass)
        Violation of the Illinois Consumer Fraud and Deceptive Trade Practices Act
                                    (815 ILCS 505/1, et seq.)

       84.     Plaintiff repeats and re-alleges the allegations of the paragraphs 1-83 with the same

force and effect as though fully set forth herein.

       85.     The Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”), 815

ILCS 505/1, et seq., provides protection to consumers by mandating fair competition in

commercial markets for goods and services.

       86.     The ICFA prohibits any deceptive, unlawful, unfair, or fraudulent business acts or

practices including using deception, fraud, false pretenses, false promises, false advertising,

misrepresentation, or the concealment, suppression, or omission of any material fact, or the use or

employment of any practice described in Section 2 of the “Uniform Deceptive Trade Practices

Act”. 815 ILCS 505/2.

       87.     The ICFA applies to Defendants’ acts as described herein because it applies to

transactions involving the sale of goods or services to consumers.

       88.     Defendants are each a “person,” as defined by 815 ILCS 505/1(c).

       89.     Plaintiff and each member of the Illinois Subclass are “consumers,” as defined by

815 ILCS 505/1(e), because they purchased Earth’s Best Brand Baby Food and/or Gerber Brand

Baby Food.

       90.     Earth’s Best Brand Baby Food and Gerber Brand Baby Food are “merchandise,” as

defined by 815 ILCS 505/1(b).



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       91.     Defendants each made false and fraudulent statements, and misrepresented,

concealed, and omitted material facts regarding Earth’s Best Brand Baby Food and/or Gerber

Brand Baby Food, including the misrepresentation that their brands of baby food were safe for

human consumption and the omission that their brands of baby food contained unsafe levels of

toxic heavy metals.

       92.     Defendants’ respective misrepresentations and omissions regarding Earth’s Best

Brand Baby Food and Gerber Brand Baby Food constitute deceptive and unfair acts or practices

prohibited by the ICFA.

       93.     Defendants’ aforementioned misrepresentations and omissions possess the

tendency or capacity to mislead and create the likelihood of consumer confusion. Unique

Concepts, Inc. v. Manuel, 669 F. Supp. 185, 191 (N.D. Ill. 1987).

       94.     Defendants’ aforementioned misrepresentations and omissions were used or

employed in the conduct of trade or commerce, namely, the marketing, sale, and distribution of

Earth’s Best Brand Baby Food and Gerber Brand Baby Food (respectively) to Plaintiff and the

Illinois Subclass.

       95.     Defendants’ aforementioned misrepresentations and omissions are unfair business

practices because they offend public policy and/or cause substantial injury to consumers. Robinson

v. Toyota Motor Credit Corp., 201 Ill.2d 403, 417-18 (2002).

       96.     Defendants’ aforementioned conduct is deceptive and unlawful because it violated

section 343(a)(i) of the FDCA and section 620/11(a) of the IFDCA.

       97.     Defendants intended that Plaintiff and Illinois Subclass members rely on their

respective aforementioned false statements, misrepresentations, and omissions of material fact in

purchasing Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food.


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       98.      Plaintiff and Illinois Subclass members reasonably relied on Defendants’ respective

misrepresentations and omissions when they purchased Earth’s Best Brand Baby Food and/or

Gerber Brand Baby Food.

       99.      Acting as reasonable consumers, had Plaintiff and Illinois Subclass members been

aware of the true facts regarding the presence of toxic heavy metals in Earth’s Best Brand Baby

Food and Gerber Brand Baby Food, they would have declined to purchase Earth’s Best Brand

Baby Food and Gerber Brand Baby Food.

       100.     Plaintiff and Illinois Subclass members suffered injuries in fact—i.e., the loss of

the money that they paid for Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food under

the belief that they were safe for human consumption and did not contain unsafe levels of toxic

heavy metals.

       101.     Acting as reasonable consumers, Plaintiff and Illinois Subclass members could not

have avoided the injuries suffered by purchasing Earth’s Best Brand Baby Food and/or Gerber

Brand Baby Food because they did not have any reason to suspect that those brands of baby food

contained elevated levels of toxic heavy metals. Moreover, the detection of toxic heavy metals in

food requires rigorous and specialized scientific testing that goes well beyond the level of inquiry

a reasonable consumer would make into the issue, and, in any event, such testing was not readily

available to Plaintiff and Illinois Subclass members at the time they purchased Earth’s Best Brand

Baby Food and/or Gerber Brand Baby Food.

       102.     As a direct and proximate result of Defendants’ unfair and deceptive acts or

practices, Plaintiff and members of the Illinois Subclass suffered damages by purchasing Earth’s

Best Brand Baby Food and/or Gerber Brand Baby Food because they would not have purchased




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those brands of baby food had they known the truth, and they received a product that was worthless

because it contains unsafe levels of toxic heavy metals.

                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiff AILEEN GARCES, individually, and on behalf of the Illinois

Subclass, prays for an Order as follows:

               A.      Finding that this action satisfies the prerequisites for maintenance as a class
                       action set forth in Fed. R. Civ. P. 23, and certifying the Illinois Subclass
                       defined herein;

               B.      Designating Plaintiff as representative of the Illinois Subclass and her
                       undersigned counsel as Class Counsel;

               C.      Entering judgment in favor of Plaintiff and the Illinois Subclass and against
                       Defendants;

               D.      Awarding Plaintiff and the Illinois Subclass damages equal to the amount
                       of actual damages that they sustained;

               E.      Awarding Plaintiff and the Illinois Subclass attorneys’ fees and costs,
                       including interest thereon, as allowed or required by law; and

               F.      Granting all such further and other relief as the Court deems just and
                       appropriate.

                                          COUNT II
                             (on Behalf of Plaintiff and the Class)
                    Violation of the Consumer Fraud and Deceptive Trade
                 Practices Acts of the Various States and District of Columbia

       103.    Plaintiff repeats and re-alleges the allegations in Paragraphs 1-83 with the same

force and effect as though fully set forth herein.

       104.    Plaintiff brings this Count individually, and on behalf of all similarly situated

residents of each of the 50 states and the District of Columbia for violations of the respective

statutory consumer protection laws, as follows:

               a.      the Alabama Deceptive Trade Practices Act, Ala.Code 1975, § 8–19–1, et
                       seq.;


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        b.     the Alaska Unfair Trade Practices and Consumer Protection Act, AS §
               45.50.471, et seq.;

        c.     the Arizona Consumer Fraud Act, A.R.S §§ 44-1521, et seq.;

        d.     the Arkansas Deceptive Trade Practices Act, Ark.Code §§ 4-88-101, et seq.;

        e.     the California Unfair Competition Law, Bus. & Prof. Code §§17200, et seq.
               and 17500 et seq.;

        f.     the California Consumers Legal Remedies Act, Civil Code §1750, et seq.;

        g.     the Colorado Consumer Protection Act, C.R.S.A. §6-1-101, et seq.;

        h.     the Connecticut Unfair Trade Practices Act, C.G.S.A. § 42-110, et seq.;

        i.     the Delaware Consumer Fraud Act, 6 Del. C. § 2513, et seq.;

        j.     the D.C. Consumer Protection Procedures Act, DC Code § 28-3901, et seq.;

        k.     the Florida Deceptive and Unfair Trade Practices Act, FSA § 501.201, et
               seq.;

        l.     the Georgia Fair Business Practices Act, OCGA § 10-1-390, et seq.;

        m.     the Hawaii Unfair Competition Law, H.R.S. § 480-1, et seq.;

        n.     the Idaho Consumer Protection Act, I.C. § 48-601, et seq.;

        o.     the Illinois Consumer Fraud and Deceptive Business Practices Act, 815
               ILCS 501/1 et seq.;

        p.     the Indiana Deceptive Consumer Sales Act, IN ST § 24-5-0.5-2, et seq.;

        q.     The Iowa Private Right of Action for Consumer Frauds Act, Iowa Code
               Ann. § 714H.1, et seq.;

        r.     the Kansas Consumer Protection Act, K.S.A. § 50-623, et seq.;

        s.     the Kentucky Consumer Protection Act, KRS 367.110, et seq.;

        t.     the Louisiana Unfair Trade Practices and Consumer Protection Law, LSA-
               R.S. 51:1401, et seq.;

        u.     the Maine Unfair Trade Practices Act, 5 M.R.S.A. § 205-A, et seq.;

        v.     the Maryland Consumer Protection Act, MD Code, Commercial Law, § 13-
               301, et seq.;


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        w.     the Massachusetts Regulation of Business Practices for Consumers
               Protection Act, M.G.L.A. 93A, et seq.;

        x.     the Michigan Consumer Protection Act, M.C.L.A. 445.901, et seq.;

        y.     the Minnesota Prevention of Consumer Fraud Act, Minn. Stat. § 325F.68,
               et seq.;

        z.     the Mississippi Consumer Protection Act, Miss. Code Ann. § 75-24-1, et
               seq.;

        aa.    the Missouri Merchandising Practices Act, V.A.M.S. § 407, et seq.;

        bb.    the Montana Unfair Trade Practices and Consumer Protection Act of 1973,
               Mont. Code Ann. § 30-14-101, et seq.;

        cc.    the Nebraska Consumer Protection Act, Neb.Rev.St. §§ 59-1601, et seq.;

        dd.    the Nevada Deceptive Trade Practices Act, N.R.S. 41.600, et seq.;

        ee.    the New Hampshire Regulation of Business Practices for Consumer
               Protection, N.H.Rev.Stat. § 358-A:1, et seq.;

        ff.    the New Jersey Consumer Fraud Act, N.J.S.A. 56:8, et seq.;

        gg.    the New Mexico Unfair Practices Act, N.M.S.A. §§ 57-12-1, et seq.;

        hh.    the New York Consumer Protection from Deceptive Acts and Practices,
               N.Y. GBL (McKinney) § 349, et seq.;

        ii.    the North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen
               Stat. § 75-1.1, et seq.;

        jj.    the North Dakota Consumer Fraud Act, N.D. Cent.Code Chapter 51-15, et
               seq.;

        kk.    the Ohio Consumer Sales Practices Act, R.C. 1345.01, et seq.;

        ll.    the Oklahoma Consumer Protection Act, 15 O.S.2001, §§ 751, et seq.;

        mm.    the Oregon Unlawful Trade Practices Act, ORS 646.605, et seq.;

        nn.    the Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73
               P.S. § 201-1, et seq.;

        oo.    the Rhode Island Deceptive Trade Practices Act, G.L.1956 § 6-13.1-5.2(B),
               et seq.;


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                pp.   the South Carolina Unfair Trade Practices Act, SC Code 1976, §§ 39-5-10,
                      et seq.;

                qq.   the South Dakota Deceptive Trade Practices and Consumer Protection Act,
                      SDCL § 37-24-1, et seq.;

                rr.   the Tennessee Consumer Protection Act, T.C.A. § 47-18-101, et seq.;

                ss.   the Texas Deceptive Trade Practices-Consumer Protection Act, V.T.C.A.,
                      Bus. & C. § 17.41, et seq.;

                tt.   the Utah Consumer Sales Practices Act, UT ST § 13-11-1, et seq.;

                uu.   the Vermont Consumer Fraud Act, 9 V.S.A. § 2451, et seq.;

                vv.   the Virginia Consumer Protection Act of 1977, VA ST § 59.1-196, et seq.;

                ww.   the Washington Consumer Protection Act, RCWA 19.86.010, et seq.;

                xx.   the West Virginia Consumer Credit And Protection Act, W.Va.Code § 46A-
                      1-101, et seq.;

                yy.   the Wisconsin Deceptive Trade Practices Act, WIS.STAT. § 100.18, et seq.;
                      and

                zz.   the Wyoming Consumer Protection Act, WY ST § 40-12-101, et seq.

         105.   Earth’s Best Brand Baby Food and Gerber Brand Baby Food are each a consumer

good.

         106.   Defendants each made false and fraudulent statements, and misrepresented,

concealed, and omitted material facts regarding Earth’s Best Brand Baby Food and/or Gerber

Brand Baby Food, including the misrepresentation that their brands of baby food were safe for

human consumption and the omission that their brands of baby food contained unsafe levels of

toxic heavy metals.

         107.   Defendants’ aforementioned misrepresentations and omissions were used or

employed in the conduct of trade or commerce, namely, the marketing, sale, and distribution of

Earth’s Best Brand Baby Food and Gerber Brand Baby Food (respectively) to Plaintiff and the

Class.
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       108.    Defendants’ aforementioned misrepresentations and omissions possess the

tendency or capacity to mislead and create the likelihood of confusion.

       109.    Defendants’ aforementioned misrepresentations and omissions are unfair and

unlawful business practices because they offend public policy and cause substantial injury to

consumers.

       110.    Defendants intended that Plaintiff and Class members rely on the aforementioned

false statements, misrepresentations, and omissions of material fact in purchasing Earth’s Best

Brand Baby Food and Gerber Brand Baby Food.

       111.    Plaintiff and Class members reasonably relied on Defendants’ misrepresentations

and omissions when they purchased Earth’s Best Brand Baby Food and Gerber Brand Baby Food.

       112.    Acting as reasonable consumers, had Plaintiff and Class members been aware of

the true facts regarding the Earth’s Best Brand Baby Food and Gerber Brand Baby Food, they

would have declined to purchase those brands of baby food.

       113.    Plaintiff and Class members suffered injuries in fact—i.e., the loss of the money

that they paid for Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food under the belief

that they were safe for human consumption and did not contain unsafe levels of toxic heavy metals.

       114.    Acting as reasonable consumers, Plaintiff and Class members could not have

avoided the injuries suffered by purchasing Earth’s Best Brand Baby Food and/or Gerber Brand

Baby Food because they did not have any reason to suspect that those brands of baby food

contained elevated levels of toxic heavy metals. Moreover, the detection of toxic heavy metals in

food requires rigorous and specialized scientific testing that goes well beyond the level of inquiry

a reasonable consumer would make into the issue, and, in any event, such testing was not readily




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available to Plaintiff and Class members at the time they purchased Earth’s Best Brand Baby Food

and/or Gerber Brand Baby Food.

       115.    As a direct and proximate result of Defendants’ unfair and deceptive acts or

practices, Plaintiff and members of the Class suffered damages by purchasing Earth’s Best Brand

Baby Food and/or Gerber Brand Baby Food because they would not have purchased those brands

of baby food had they known the truth, and they received a product that was worthless because it

contains unsafe levels of toxic heavy metals.

       116.    Plaintiff and Class members reasonably relied on Defendants’ respective

misrepresentations and omissions when they purchased Earth’s Best Brand Baby Food and/or

Gerber Brand Baby Food.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff AILEEN GARCES, individually, and on behalf of the Class,

prays for an Order as follows:

               A.     Finding that this action satisfies the prerequisites for maintenance as a class
                      action set forth in Fed. R. Civ. P. 23, and certifying the Class defined herein;

               B.     Designating Plaintiff as representative of the Class and her undersigned
                      counsel as Class Counsel;

               C.     Entering judgment in favor of Plaintiff and the Class and against
                      Defendants;

               D.     Awarding Plaintiff and the Class damages equal to the amount of actual
                      damages that they sustained;

               E.     Awarding Plaintiff and the Class attorneys’ fees and costs, including
                      interest thereon, as allowed or required by law; and

               F.     Granting all such further and other relief as the Court deems just and
                      appropriate.




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                                           COUNT III
                               (on Behalf of Plaintiff and the Class)
                                    Fraudulent Concealment

        117.    Plaintiff repeats and re-alleges the allegations of the paragraphs 1-83 with the same

force and effect as though fully set forth herein.

        118.    “The elements needed to prove fraudulent concealment are (1) concealment of a

material fact, (2) intent to induce a false belief where there exists a duty to speak, (3) that the other

party could not have discovered the truth through reasonable inquiry and relied upon the silence

as an indication that the concealed fact did not exist, (4) that the other party would have acted

differently had it known of the concealed information, and (5) that its reliance resulted in its

injury.” Vandenberg v. Brunswick Corp., 2017 IL App (1st) 170181, ¶ 31 (citing Schrager v. North

Community Bank, 328 Ill.App.3d 696, 706-07 (1st Dist. 2002).

        119.    As noted above, the presence of elevated levels of toxic heavy metals in baby food

is a material fact to consumers.

        120.    Defendants each knew that the presence of elevated levels of toxic heavy metals in

Earth’s Best Brand Baby Food and Gerber Brand Baby Food (respectively) was a material fact to

consumers, such as Plaintiff and members of the Class.

        121.    Because Defendants are each responsible for, and control, the manufacturing,

marketing, distribution, and sale of Earth’s Best Brand Baby Food and Gerber Brand Baby Food

(respectively), Defendants knew and intended that their omissions and concealment of the presence

of elevated levels of toxic heavy metals in their respective brands of baby food would mislead

Plaintiff and Class members, and induce them to buy products that they would otherwise not have

been willing to purchase.




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       122.    Acting as reasonable consumers, had Plaintiff and Class members been aware of

the true facts regarding the Earth’s Best Brand Baby Food and Gerber Brand Baby Food, they

would have declined to purchase those brands of baby food.

       123.    Plaintiff and Class members suffered injuries in fact—i.e., the loss of the money

that they paid for Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food under the belief

that they were safe for human consumption and did not contain unsafe levels of toxic heavy metals.

       124.    Acting as reasonable consumers, Plaintiff and Class members could not have

avoided the injuries suffered by purchasing Earth’s Best Brand Baby Food and/or Gerber Brand

Baby Food because they did not have any reason to suspect that those brands of baby food

contained elevated levels of toxic heavy metals. Moreover, the detection of toxic heavy metals in

food requires rigorous and specialized scientific testing that goes well beyond the level of inquiry

a reasonable consumer would make into the issue, and, in any event, such testing was not readily

available to Plaintiff and Class members at the time they purchased Earth’s Best Brand Baby Food

and/or Gerber Brand Baby Food.

       125.    As a direct and proximate result of Defendants’ fraudulent concealment, Plaintiff

and members of the Class suffered damages by purchasing Earth’s Best Brand Baby Food and/or

Gerber Brand Baby Food because they would not have purchased those brands of baby food had

they known the truth, and they received a product that was worthless because it contains unsafe

levels of toxic heavy metals.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff AILEEN GARCES, individually, and on behalf of the Class,

prays for an Order as follows:

               A.      Finding that this action satisfies the prerequisites for maintenance as a class
                       action set forth in Fed. R. Civ. P. 23, and certifying the Class defined herein;

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               B.      Designating Plaintiff as representative of the Class and her undersigned
                       counsel as Class Counsel;

               C.      Entering judgment in favor of Plaintiff and the Class and against
                       Defendants;

               D.      Awarding Plaintiff and the Class damages equal to the amount of actual
                       damages that they sustained;

               E.      Awarding Plaintiff and the Class attorneys’ fees and costs, including
                       interest thereon, as allowed or required by law; and

               F.      Granting all such further and other relief as the Court deems just and
                       appropriate.

                                           COUNT IV
                        (on Behalf of Plaintiff and the Illinois Subclass)
                     Violation of the Illinois Food, Drug and Cosmetic Act
                                    (410 ILCS 620/1, et seq.)

       126.    Plaintiff repeats and re-alleges the allegations of the paragraphs 1-83 with the same

force and effect as though fully set forth herein.

       127.    At all relevant times, the Illinois Food, Drug, and Cosmetic Act (“IFDCA”)—

codified as 410 ILCS 620/1, et seq.—was in full force and effect.

       128.    The IFDCA prohibits the “manufacture, sale or delivery, holding or offering for sale

of any food…that is adulterated or misbranded,” the “adulteration or misbranding of any food,”

and “the delivery or proffered delivery thereof for pay or otherwise.”           410 ILCS 620/3

(incorporating 410 ILCS 620/3.1, 410 ILCS 620/3.2, and 410 ILCS 620/3.3).

       129.    Under the IFDCA, “a food is adulterated if it bears or contains any poisonous or

deleterious substance which may render it injurious to health…if the quantity of such substance in

such food [would] render it injurious to health.” 410 ILCS 620/10.

       130.    Defendants each violated the IFDCA by manufacturing, distributing, marketing,

and selling Gerber Brand Baby Food and Earth’s Best Brand Baby Food (respectively) because



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the presence of unsafe levels of toxic heavy metals in those brands of baby food render them

injurious to health.

       131.     Plaintiff and Illinois Subclass members reasonably relied on Defendants’ respective

misrepresentations and omissions when they purchased Earth’s Best Brand Baby Food and/or

Gerber Brand Baby Food.

       132.     Acting as reasonable consumers, had Plaintiff and Illinois Subclass members been

aware of the true facts regarding the presence of toxic heavy metals in Earth’s Best Brand Baby

Food and Gerber Brand Baby Food, they would have declined to purchase Earth’s Best Brand

Baby Food and Gerber Brand Baby Food.

       133.     Plaintiff and Illinois Subclass members suffered injuries in fact—i.e., the loss of

the money that they paid for Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food under

the belief that they were safe for human consumption and did not contain unsafe levels of toxic

heavy metals.

       134.     Acting as reasonable consumers, Plaintiff and Illinois Subclass members could not

have avoided the injuries suffered by purchasing Earth’s Best Brand Baby Food and/or Gerber

Brand Baby Food because they did not have any reason to suspect that those brands of baby food

contained elevated levels of toxic heavy metals. Moreover, the detection of toxic heavy metals in

food requires rigorous and specialized scientific testing that goes well beyond the level of inquiry

a reasonable consumer would make into the issue, and, in any event, such testing was not readily

available to Plaintiff and Illinois Subclass members at the time they purchased Earth’s Best Brand

Baby Food and/or Gerber Brand Baby Food.

       135.     As a direct and proximate result of Defendants’ violations of the IFDCA, Plaintiff

and members of the Illinois Subclass suffered damages by purchasing Earth’s Best Brand Baby


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Food and/or Gerber Brand Baby Food because they would not have purchased those brands of

baby food had they known the truth, and they received a product that was worthless because it

contains unsafe levels of toxic heavy metals.

         136.   Therefore, Plaintiff and members of the Illinois Subclass were damaged as a direct

result of Defendants’ violation of the IFDCA.

         137.   “A private cause of action is found to exist under a statute where: (1) the plaintiff

falls within the class of persons sought to be protected; (2) the plaintiff’s injury is one intended to

be prevented; (3) the cause of action is consistent with the underlying purpose of the statute; and

(4) the private cause of action is necessary to effectuate the purpose of the statute, i.e., a civil

remedy is needed.” Reuben H. Donnelley Corp. v. Brauer, 275 Ill.App.3d 300, 311 (1st Dist.

1995).

         138.   Plaintiff and Illinois Subclass members fall within the class of persons sought to be

protected by the IFDCA because they unknowingly purchased adulterated baby food as a result of

Defendants’ respective misrepresentations and omissions. The IFDCA was designed to regulate

the manner in which food, drugs, and cosmetics could be manufactured, prepared, advertised, and

sold to consumers. Specifically, section 620/10 of the IFDCA was designed to prohibit food

manufacturers and sellers from selling food to consumers which contain unsafe levels of “any

poisonous or deleterious substance which may render it injurious to health.” The sale of adulterated

food is prohibited under the IFDCA so that consumers, such as Plaintiff and Illinois Subclass

members, do not purchase and/or ingest foods that are be injurious to their health.

         139.   Plaintiff’s and Illinois Subclass members’ common injury is one intended to be

prevented by the IFDCA. Section 620/10 of the IFDCA prohibits food manufacturers and sellers

from selling food to consumers which contain unsafe levels of “any poisonous or deleterious


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substance which may render it injurious to health.” The sale of adulterated food is prohibited under

the IFDCA so that consumers, such as Plaintiff and Illinois Subclass members, do not purchase

and/or ingest foods that are injurious to their health.

       140.    Granting Plaintiff and Illinois Subclass members a private right of action under the

IFDCA is consistent with the underlying purpose of the IFDCA. The underlying purpose of

section 620/10 of the IFDCA is to prevent consumers from purchasing and/or ingesting foods that

will be injurious to their health. Allowing Plaintiff and Illinois Subclass members to hold

Defendants liable for their violations of the IFDCA is consistent with that purpose.

       141.    Granting Plaintiff and Illinois Subclass members a private right of action under the

IFDCA is necessary to effectuate the purpose of the IFDCA because the statute would be rendered

meaningless if it could not be enforced. There would be no incentive keeping food manufacturers

and sellers from selling adulterated food products to consumers if they could not be held liable to

consumers for their actions.

                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiff AILEEN GARCES, individually, and on behalf of the Illinois

Subclass, prays for an Order as follows:

               A.      Finding that this action satisfies the prerequisites for maintenance as a class
                       action set forth in Fed. R. Civ. P. 23, and certifying the Illinois Subclass
                       defined herein;

               B.      Designating Plaintiff as representative of the Illinois Subclass and her
                       undersigned counsel as Class Counsel;

               C.      Entering judgment in favor of Plaintiff and the Illinois Subclass and against
                       Defendants;

               D.      Awarding Plaintiff and the Illinois Subclass damages equal to the amount
                       of actual damages that they sustained;

               E.      Awarding Plaintiff and the Illinois Subclass attorneys’ fees and costs,
                       including interest thereon, as allowed or required by law; and
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                 F.     Granting all such further and other relief as the Court deems just and
                        appropriate.

                                            COUNT V
                               (on Behalf of Plaintiff and the Class)
                                       Unjust Enrichment

          142.   Plaintiff repeats and re-alleges the allegations in Paragraphs 1-83 with the same

force and effect as though fully set forth herein.

          143.   When a specific contract does not govern the relationship of the parties, and,

therefore, no adequate remedy at law is applicable, an equitable remedy under a theory of unjust

enrichment is available. See, e.g., Guinn v. Hoskins Chevrolet, 361 Ill.App.3d 575, 604 (1st Dist.

2005) (internal citations omitted).

          144.   Unjust enrichment “is a condition that may be brought about by unlawful or

improper conduct as defined by law[.]” See, e.g., Gagnon v. Schickel, 2012 IL App (1st) 120645,

¶ 25 (quoting Martis v. Grinnell Mutual Reinsurance Co., 388 Ill.App.3d 1017, 1024 (3rd Dist.

2009); Alliance Acceptance Co. v. Yale Insurance Agency, Inc., 271 Ill.App.3d 483, 492 (1st Dist.

1995)).

          145.   To prevail on a claim of unjust enrichment, a plaintiff must prove: (1) “that the

defendant has unjustly retained a benefit to the plaintiff’s detriment,” and (2) “that defendant’s

retention of the benefit violates the fundamental principles of justice, equity, and good

conscience.” See, e.g., Cleary v. Philip Morris Inc., 656 F.3d 511, 518 (7th Cir.2011) (quoting HPI

Health Care Servs., Inc. v. Mt. Vernon Hosp., Inc., 131 Ill.2d 145, 160 (1989)).

          146.   As noted above, the presence of elevated levels of toxic heavy metals in baby food

is a material fact to consumers.




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       147.    Defendants each knew that the presence of elevated levels of toxic heavy metals in

Earth’s Best Brand Baby Food and Gerber Brand Baby Food (respectively) was a material fact to

consumers, such as Plaintiff and members of the Class.

       148.    Because Defendants are each responsible for, and control, the manufacturing,

marketing, distribution, and sale of Earth’s Best Brand Baby Food and Gerber Brand Baby Food

(respectively), Defendants knew and intended that their omissions and concealment of the presence

of elevated levels of toxic heavy metals in their respective brands of baby food would mislead

Plaintiff and Class members, and induce them to buy products that they would otherwise not have

been willing to purchase.

       149.    Acting as reasonable consumers, had Plaintiff and Class members been aware of

the true facts regarding the Earth’s Best Brand Baby Food and Gerber Brand Baby Food, they

would have declined to purchase those brands of baby food.

       150.    Acting as reasonable consumers, Plaintiff and Class members could not have

avoided the injuries suffered by purchasing Earth’s Best Brand Baby Food and/or Gerber Brand

Baby Food because they did not have any reason to suspect that those brands of baby food

contained elevated levels of toxic heavy metals. Moreover, the detection of toxic heavy metals in

food requires rigorous and specialized scientific testing that goes well beyond the level of inquiry

a reasonable consumer would make into the issue, and, in any event, such testing was not readily

available to Plaintiff and Class members at the time they purchased Earth’s Best Brand Baby Food

and/or Gerber Brand Baby Food.

       151.    As a direct and proximate result of Defendants’ misrepresentations and omissions,

Plaintiff and members of the Class conferred a benefit on Defendants—i.e., the money that they




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paid for Earth’s Best Brand Baby Food and/or Gerber Brand Baby Food under the belief that they

were safe for human consumption and did not contain unsafe levels of toxic heavy metals.

       152.    Defendants each acquired and retained money belonging to Plaintiff and the Class

as a result of their wrongful conduct—i.e., misrepresenting that Earth’s Best Brand Baby Food

and/or Gerber Brand Baby Food were safe for human consumption, and concealing the fact that

those brands of baby food contained unsafe levels of toxic heavy metals. Defendants profited at

the expense of Plaintiff and Class members in connection with each individual sale of Earth’s Best

Brand Baby Food and Gerber Brand Baby Food (respectively) because Plaintiff and Class

members paid money for products that were worthless due to the fact that they are not safe for

human consumption.

       153.    Defendants each have unjustly received and retained a benefit at the expense of

Plaintiff and the Class because Defendants unlawfully acquired their profits for worthless (and

unsafe) baby food products while appreciating and knowing that Earth’s Best Brand Baby Food

and Gerber Brand Baby Food (respectively) was unsafe for human consumption, contrary to their

misrepresentations and omissions.

       154.    Defendants’ retention of that benefit violates the fundamental principles of justice,

equity, and good conscience because Defendants misled Plaintiff and the Class into falsely

believing that Earth’s Best Brand Baby Food and Gerber Brand Baby Food (respectively) was safe

and did not contain unsafe levels of toxic heavy metals in order to unjustly receive and retain a

benefit.

       155.    Under the principles of equity, Defendants should not be allowed to keep the money

belonging to Plaintiff and the members of the Class because Defendants have unjustly received it

as a result of Defendants’ unlawful actions described herein.


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                                    PRAYER FOR RELIEF

      WHEREFORE, Plaintiff AILEEN GARCES, individually, and on behalf of the Class, prays

for an Order as follows:

               A.     Finding that this action satisfies the prerequisites for maintenance as a class
                      action set forth in Fed. R. Civ. P. 23, and certifying the Class defined herein;

               B.     Designating Plaintiff as representative of the Class and her undersigned
                      counsel as Class Counsel;

               C.     Entering judgment in favor of Plaintiff and the Class and against
                      Defendants;

               D.     Ordering disgorgement of any of Defendants’ ill-gotten gains and awarding
                      those amounts to Plaintiff and the Class members as compensatory
                      damages;

               E.     Awarding Plaintiff and the Class attorneys’ fees and costs, including
                      interest thereon, as allowed or required by law; and

               F.     Granting all such further and other relief as the Court deems just and
                      appropriate.

                                        JURY DEMAND
      Plaintiff demands a trial by jury on all counts so triable.



                                                  Plaintiff AILEEN GARCES, individually, and
                                                  on behalf of all others similarly situated,


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   Baby Foods Are Tainted with Dangerous Levels of
       Arsenic, Lead, Cadmium, and Mercury




                             Staff Report

       Subcommittee on Economic and Consumer Policy
            Committee on Oversight and Reform
              U.S. House of Representatives

                           February 4, 2021

                         oversight.house.gov



                               EXHIBIT 1
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                                  EXECUTIVE SUMMARY

        Inorganic arsenic, lead, cadmium, and mercury are toxic heavy metals. The Food and
Drug Administration and the World Health Organization have declared them dangerous to
human health, particularly to babies and children, who are most vulnerable to their neurotoxic
effects. Even low levels of exposure can cause serious and often irreversible damage to brain
development.

        On November 6, 2019, following reports alleging high levels of toxic heavy metals in
baby foods, the Subcommittee on Economic and Consumer Policy requested internal documents
and test results from seven of the largest manufacturers of baby food in the United States,
including both makers of organic and conventional products:

       •       Nurture, Inc. (Nurture), which sells Happy Family Organics, including baby food
               products under the brand name HappyBABY
       •       Beech-Nut Nutrition Company (Beech-Nut)
       •       Hain Celestial Group, Inc. (Hain), which sells baby food products under the brand
               name Earth’s Best Organic
       •       Gerber
       •       Campbell Soup Company (Campbell), which sells baby food products under the
               brand name Plum Organics
       •       Walmart Inc. (Walmart), which sells baby food products through its private brand
               Parent’s Choice
       •       Sprout Foods, Inc. (Sprout Organic Foods)

       Four of the companies—Nurture, Beech-Nut, Hain, and Gerber—responded to the
Subcommittee’s requests. They produced their internal testing policies, test results for
ingredients and/or finished products, and documentation about what the companies did with
ingredients and/or finished products that exceeded their internal testing limits.

       Walmart, Campbell, and Sprout Organic Foods refused to cooperate with the
Subcommittee’s investigation. The Subcommittee is greatly concerned that their lack of
cooperation might be obscuring the presence of even higher levels of toxic heavy metals in their
baby food products than their competitors’ products.

                                          FINDINGS

1.     According to internal company documents and test results obtained by the Subcommittee,
       commercial baby foods are tainted with significant levels of toxic heavy metals,
       including arsenic, lead, cadmium, and mercury. Exposure to toxic heavy metals causes
       permanent decreases in IQ, diminished future economic productivity, and increased risk
       of future criminal and antisocial behavior in children. Toxic heavy metals endanger
       infant neurological development and long-term brain function. Specifically, the
       Subcommittee reports that:




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  ARSENIC was present in baby foods made by all responding companies.

        •      Nurture (HappyBABY) sold baby foods after tests showed they contained
               as much as 180 parts per billion (ppb) inorganic arsenic. Over 25% of the
               products Nurture tested before sale contained over 100 ppb inorganic
               arsenic. Nurture’s testing shows that the typical baby food product it sold
               contained 60 ppb inorganic arsenic.

        •      Hain (Earth’s Best Organic) sold finished baby food products containing
               as much as 129 ppb inorganic arsenic. Hain typically only tested its
               ingredients, not finished products. Documents show that Hain used
               ingredients testing as high as 309 ppb arsenic.

        •      Beech-Nut used ingredients after they tested as high as 913.4 ppb arsenic.
               Beech-Nut routinely used high-arsenic additives that tested over 300 ppb
               arsenic to address product characteristics such as “crumb softness.”

        •      Gerber used high-arsenic ingredients, using 67 batches of rice flour that
               had tested over 90 ppb inorganic arsenic.

  LEAD was present in baby foods made by all responding companies.

        •      Nurture (HappyBABY) sold finished baby food products that tested as
               high as 641 ppb lead. Almost 20% of the finished baby food products that
               Nurture tested contained over 10 ppb lead.

        •      Beech-Nut used ingredients containing as much as 886.9 ppb lead. It used
               many ingredients with high lead content, including 483 that contained
               over 5 ppb lead, 89 that contained over 15 ppb lead, and 57 that contained
               over 20 ppb lead.

        •      Hain (Earth’s Best Organic) used ingredients containing as much as 352
               ppb lead. Hain used many ingredients with high lead content, including
               88 that tested over 20 ppb lead and six that tested over 200 ppb lead.

        •      Gerber used ingredients that tested as high as 48 ppb lead; and used many
               ingredients containing over 20 ppb lead.

  CADMIUM was present in baby foods made by all responding companies.

        •      Beech-Nut used 105 ingredients that tested over 20 ppb cadmium. Some
               tested much higher, up to 344.55 ppb cadmium.

        •      Hain (Earth’s Best Organic) used 102 ingredients in its baby food that
               tested over 20 ppb cadmium. Some tested much higher, up to 260 ppb
               cadmium.



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              •       Sixty-five percent of Nurture (HappyBABY) finished baby food products
                      contained more than 5 ppb cadmium.

              •       Seventy-five percent of Gerber’s carrots contained cadmium in excess of 5
                      ppb, with some containing up to 87 ppb cadmium.

       MERCURY was detected in baby food of the only responding company that tested for it.

              •       Nurture (HappyBABY) sold finished baby food products containing as
                      much as 10 ppb mercury.

              •       Beech-Nut and Hain (Earth’s Best Organic) do not even test for mercury
                      in baby food.

              •       Gerber rarely tests for mercury in its baby foods.

       These results are multiples higher than allowed under existing regulations for other
       products. For example, the Food and Drug Administration has set the maximum
       allowable levels in bottled water at 10 ppb inorganic arsenic, 5 ppb lead, and 5 ppb
       cadmium, and the Environmental Protection Agency has capped the allowable level of
       mercury in drinking water at 2 ppb. The test results of baby foods and their ingredients
       eclipse those levels: including results up to 91 times the arsenic level, up to 177 times the
       lead level, up to 69 times the cadmium level, and up to 5 times the mercury level.

2.     Internal company standards permit dangerously high levels of toxic heavy metals, and
       documents revealed that the manufacturers have often sold foods that exceeded those
       levels.

              •       Nurture (HappyBABY) sold all products tested, regardless of how much
                      toxic heavy metal the baby food contained. By company policy, Nurture’s
                      toxic heavy metal testing is not intended for consumer safety. The Food
                      and Drug Administration (FDA) has only finalized one standard—100 ppb
                      inorganic arsenic in infant rice cereal—and Nurture set its internal
                      standard for that product 15% higher than the FDA limit, at 115 ppb.

              •       Beech-Nut set internal arsenic and cadmium standards at 3,000 ppb in
                      additives, such as vitamin mix, and 5,000 ppb lead for certain ingredients
                      like BAN 800. These standards are the highest of any responding
                      manufacturer.

              •       Hain (Earth’s Best Organic) set an internal standard of 200 ppb for
                      arsenic, lead, and cadmium in some of its ingredients. But Hain exceeded
                      its internal policies, using ingredients containing 353 ppb lead and 309
                      ppb arsenic. Hain justified deviations above its ingredient testing




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                     standards based on “theoretical calculations,” even after Hain admitted to
                     FDA that its testing underestimated final product toxic heavy metal levels.

3.     The Subcommittee has grave concerns about baby food products manufactured by
       Walmart (Parent’s Choice), Sprout Organic Foods, and Campbell (Plum Organics).
       These companies refused to cooperate with the Subcommittee’s investigation. The
       Subcommittee is greatly concerned that their lack of cooperation might obscure the
       presence of even higher levels of toxic heavy metals in their baby food products,
       compared to their competitors’ products.

              •      Walmart sells Parent’s Choice and Parent’s Choice Organic products for
                     babies as young as four months.

              •      Sprout Organic Foods sells organic products for babies as young as six
                     months. It is owned by North Castle Partners, a Greenwich, Connecticut–
                     based private equity firm.

              •      Campbell sells Plum Organics products for babies as young as four
                     months.

              •      Independent testing of Walmart, Sprout Organic Foods, and Campbell
                     products has confirmed that their baby foods contain concerning levels of
                     toxic heavy metals.

4.     The Trump administration ignored a secret industry presentation to federal regulators
       revealing increased risks of toxic heavy metals in baby foods. On August 1, 2019, FDA
       received a secret slide presentation from Hain (Earth’s Best Organic), which revealed
       that:

              •      Corporate policies to test only ingredients, not final products,
                     underrepresent the levels of toxic heavy metals in baby foods. In 100% of
                     the Hain baby foods tested, inorganic arsenic levels were higher in the
                     finished baby food than the company estimated they would be based on
                     individual ingredient testing. Inorganic arsenic was between 28% and
                     93% higher in the finished products;

              •      Many of Hain’s baby foods were tainted with high levels of inorganic
                     arsenic—half of its brown rice baby foods contained over 100 ppb
                     inorganic arsenic; its average brown rice baby food contained 97.62 ppb
                     inorganic arsenic; and

              •      Naturally occurring toxic heavy metals may not be the only problem
                     causing the unsafe levels of toxic heavy metals in baby foods; rather, baby
                     food producers like Hain may be adding ingredients that have high levels
                     of toxic heavy metals into their products, such as vitamin/mineral pre-mix.




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       This presentation made clear that ingredient testing is inadequate, and that only final
       product testing can measure the true danger posed by baby foods.

       The Trump FDA took no new action in response. To this day, baby foods containing
       toxic heavy metals bear no label or warning to parents. Manufacturers are free to test
       only ingredients, or, for the vast majority of baby foods, to conduct no testing at all.
       FDA has only finalized one metal standard for one narrow category of baby food, setting
       a 100 ppb inorganic arsenic standard for infant rice cereal. But this FDA standard is far
       too high to protect against the neurological effects on children.

5.     The Subcommittee makes the following recommendations:

              •       Mandatory testing—Baby food manufacturers should be required by
                      FDA to test their finished products for toxic heavy metals, not just their
                      ingredients;

              •       Labeling—Manufacturers should by required by FDA to report levels of
                      toxic heavy metals on food labels;

              •       Voluntary phase-out of toxic ingredients—Manufacturers should
                      voluntarily find substitutes for ingredients that are high in toxic heavy
                      metals, or phase out products that have high amounts of ingredients that
                      frequently test high in toxic heavy metals, such as rice;

              •       FDA standards—FDA should set maximum levels of toxic heavy metals
                      permitted in baby foods. One level for each metal should apply across all
                      baby foods. And the level should be set to protect babies against the
                      neurological effects of toxic heavy metals; and

              •       Parental vigilance—Parents should avoid baby foods that contain
                      ingredients testing high in toxic heavy metals, such as rice products.
                      Instituting recommendations one through four will give parents the
                      information they need to make informed decisions to protect their babies.

6.     Baby food manufacturers hold a special position of public trust. Consumers believe that
       they would not sell products that are unsafe. Consumers also believe that the federal
       government would not knowingly permit the sale of unsafe baby food. As this staff
       report reveals, baby food manufacturers and the Trump administration’s federal
       regulators have broken the faith.




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I.      THE DANGER OF TOXIC HEAVY METALS TO CHILDREN’S HEALTH

        Children’s exposure to toxic heavy metals causes permanent decreases in IQ, diminished
future economic productivity, and increased risk of future criminal and antisocial behavior. 1

        Babies’ developing brains are “exceptionally sensitive to injury caused by toxic
chemicals, and several developmental processes have been shown to be highly vulnerable to
chemical toxicity.” 2 The fact that babies are small, have other developing organ systems, and
absorb more of the heavy metals than adults, exacerbates their risk from exposure to heavy
metals. 3

        Exposure to heavy metals at this developmental stage can lead to “untreatable and
frequently permanent” brain damage, which may result in “reduced intelligence, as expressed in
terms of lost IQ points, or disruption in behavior.” 4 For example, a recent study estimates that
exposure to environmental chemicals, including lead, are associated with 40,131,518 total IQ
points loss in 25.5 million children (or roughly 1.57 lost IQ points per child)—more than the
total IQ losses associated with preterm birth (34,031,025), brain tumors (37,288), and traumatic
brain injury (5,827,300) combined. 5 For every one IQ point lost, it is estimated that a child’s
lifetime earning capacity will be decreased by $18,000. 6

        Well-known vectors of child exposure to toxic heavy metals include lead paint in old
housing and water pollution from landfills. Over the decades, a range of federal and state laws
and regulations have been passed to protect child health through emissions standards, among
other things.

        The Food and Drug Administration (FDA) has declared that inorganic arsenic, lead,
cadmium, and mercury are dangerous, particularly to infants and children. They have “no
established health benefit” and “lead to illness, impairment, and in high doses, death.”
According to FDA, “even low levels of harmful metals from individual food sources, can



         1
           Miguel Rodríguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure with
Neurodevelopment and Behavioural Disorders in Children: A Systematic Review and Meta-Analysis (Apr. 9, 2013)
(online at www.sciencedirect.com/science/article/abs/pii/S0048969713003409?via%3Dihub).
        2
          Philippe Grandjean and Philip J. Landrigan, Neurobehavioural Effects of Developmental Toxicity (Mar.
13, 2014) (online at www.ncbi.nlm.nih.gov/pmc/articles/PMC4418502/).
        3
        Consumer Reports, Heavy Metals in Baby Food: What You Need to Know (Aug. 16, 2018) (online at
www.consumerreports.org/food-safety/heavy-metals-in-baby-food/).
        4
          Philippe Grandjean and Philip J. Landrigan, Neurobehavioural Effects of Developmental Toxicity (Mar.
13, 2014) (online at www.ncbi.nlm.nih.gov/pmc/articles/PMC4418502/).
        5
          David C. Bellinger, A Strategy for Comparing the Contributions of Environmental Chemicals and Other
Risk Factors to Neurodevelopment of Children (Dec. 19, 2011) (online at
www.ncbi.nlm.nih.gov/pmc/articles/PMC3339460/).
         6
           Martine Bellanger et al., Economic Benefits of Methylmercury Exposure Control in Europe: Monetary
Value of Neurotoxicity Prevention (Jan. 17, 2013) (online at https://pubmed.ncbi.nlm.nih.gov/23289875/).




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sometimes add up to a level of concern.” FDA cautions that infants and children are at the
greatest risk of harm from toxic heavy metal exposure. 7

       The Subcommittee on Economic and Consumer Policy’s investigation has found another
source of exposure: baby foods. According to documents obtained from baby food
manufacturers, toxic heavy metals, such as arsenic, cadmium, lead, and mercury are present at
substantial levels in both organic and conventional baby foods. Currently, there is no federal
standard on, or warning to parents and caregivers about, these toxins.

        A.         Inorganic Arsenic

        Arsenic is ranked number one among substances present in the environment that pose the
most significant potential threat to human health, according to the Department of Health and
Human Services’ Agency for Toxic Substances and Disease Registry (ATSDR). 8 The known
health risks of arsenic exposure include “respiratory, gastrointestinal, haematological, hepatic,
renal, skin, neurological and immunological effects, as well as damaging effects on the
central nervous system and cognitive development in children.” 9

       Studies have concluded that arsenic exposure has a “significant negative effect on
neurodevelopment in children.” 10 This negative effect is most pronounced in Full Scale IQ, and
more specifically, in verbal and performance domains as well as memory. For every 50%
increase in arsenic levels, there is an approximately “0.4 decrease in the IQ of children.” 11

       A study of Maine schoolchildren exposed to arsenic in drinking water found that children
exposed to water with an arsenic concentration level greater than 5 parts per billion (ppb)
“showed significant reductions in Full Scale IQ, Working Memory, Perceptual Reasoning and
Verbal Comprehension scores.” The authors pegged 5 ppb as an important threshold. 12

        Likewise, a study of children in Spain found that increasing arsenic exposure led to a
decrease in the children’s global motor, gross motor, and fine motor function scores. Boys in
particular were more susceptible to arsenic’s neurotoxicity. 13

        7
           Food and Drug Administration, Metals and Your Food (online at www.fda.gov/food/chemicals-metals-
pesticides-food/metals-and-your-food) (accessed Jan. 26, 2021).
        8
        Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
www.atsdr.cdc.gov/spl/index.html#2019spl).
         9
           Miguel Rodríguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure with
Neurodevelopment and Behavioural Disorders in Children: A Systematic Review and Meta-Analysis (June 1, 2013)
(online at https://pubmed.ncbi.nlm.nih.gov/23570911/) (emphasis added).
        10
             Id.
        11
             Id.
        12
           Gail A. Wasserman et al., A Cross-Sectional Study of Well Water Arsenic and Child IQ in Maine
Schoolchildren (Apr. 1, 2014) (online at https://ehjournal.biomedcentral.com/articles/10.1186/1476-069X-13-23).
        13
           Antonio J. Signes-Pastor et al., Inorganic Arsenic Exposure and Neuropsychological Development of
Children of 4-5 Years of Age Living in Spain (Apr. 29, 2019) (online at
www.ncbi.nlm.nih.gov/pmc/articles/PMC6541502/).




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        B.       Lead

       Lead is number two on ATSDR’s list of substances present in the environment that pose
the most significant potential threat to human health. 14 Even small doses of lead exposure are
hazardous, particularly to children. 15 Lead is associated with a range of bad health outcomes,
including behavioral problems, decreased cognitive performance, delayed puberty, and reduced
postnatal growth. According to FDA, lead is especially dangerous to “infants” and “young
children.” FDA acknowledges that:

        High levels of lead exposure can seriously harm children’s health and
        development, specifically the brain and nervous system. Neurological effects
        from high levels of lead exposure during early childhood include learning
        disabilities, behavior difficulties, and lowered IQ. Because lead can accumulate
        in the body, even low-level chronic exposure can be hazardous over time. 16

        Lead exposure severely affects academic achievement in children. Even at low levels,
early childhood lead exposure has a negative impact on school performance. Two separate
studies of schoolchildren in Detroit and Chicago public schools found a strong inverse
relationship between lead exposure and test scores. In the Detroit study, there was a “significant
association” between early childhood lead exposure and decreased standardized test
performance, with lead exposure strongly linked to an adverse effect on academic achievement. 17
The Chicago study found that higher blood lead concentrations were associated with lower
reading and math scores in 3rd grade children. Increased blood lead concentrations correlated
with a 32% increase in the risk of failing reading and math. 18

         The cognitive effects of early childhood lead exposure appear to be permanent. In one
study, adults who previously had lead-associated developmental delays continued to show
persisting cognitive deficits, demonstrating the long-lasting damage of lead exposure. 19




       14
          Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
www.atsdr.cdc.gov/spl/index.html#2019spl).
        15
           Philippe Grandjean, Even Low-Dose Lead Exposure Is Hazardous (Sept. 11, 2010) (online at
https://pubmed.ncbi.nlm.nih.gov/20833288/).
        16
         Food and Drug Administration, Lead in Food, Foodwares, and Dietary Supplements (online at
www.fda.gov/food/metals-and-your-food/lead-food-foodwares-and-dietary-supplements) (accessed Jan. 26, 2021).
        17
           Nanhua Zhang et al., Early Childhood Lead Exposure and Academic Achievement: Evidence From
Detroit Public Schools (Mar. 2013) (online at
http://mediad.publicbroadcasting.net/p/michigan/files/201302/AJPH.2012.pdf).
          18
             Anne Evens et al., The Impact of Low-Level Lead Toxicity on School Performance Among Children in
the Chicago Public Schools: A Population-Based Retrospective Cohort Study (Apr. 7, 2015) (online at
https://ehjournal.biomedcentral.com/articles/10.1186/s12940-015-0008-9).
        19
           Maitreyi Mazumdar et al., Low-Level Environmental Lead Exposure in Childhood and Adult Intellectual
Function: A Follow-Up Study (Mar. 30, 2011) (online at www.ncbi.nlm.nih.gov/pmc/articles/PMC3072933/).




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       Studies have also established a significant association between lead exposure and
Attention-Deficit/Hyperactivity Disorder (ADHD). 20

         C.       Cadmium

        Cadmium is number seven on ATSDR’s list of substances present in the environment that
pose the most significant potential threat to human health. 21 Cadmium is associated with
decreases in IQ, as well as the development of ADHD.
        A 2018 study found that cadmium exposure negatively affected children’s Full Scale IQ,
particularly among boys. Boys exhibiting higher amounts of cadmium exposure had seven fewer
IQ points than those exhibiting less cadmium exposure. 22 A 2015 study similarly found a
significant inverse relationship between early cadmium exposure and IQ. 23

        A 2018 study linked cadmium exposure to ADHD, finding that the disorder was more
common among children with the highest levels of cadmium exposure as compared to a control
group. 24

         D.       Mercury

        Mercury is number three on ATSDR’s list of substances present in the environment that
pose the most significant potential threat to human health. 25 Studies of mercury’s effect on
childhood development have primarily been conducted by considering the mother’s exposure to
mercury while pregnant. In these instances, “pre-natal mercury exposure has been consistently
associated with adverse subsequent neuro-development.” 26 And pre-natal mercury exposure is
also related to poorer estimated IQ. 27 Beyond prenatal exposure, higher blood mercury levels at



         20
          Gabriele Donzelli et al., The Association Between Lead and Attention-Deficit/Hyperactivity Disorder:
A Systematic Review (Jan. 29, 2019) (online at www.mdpi.com/1660-4601/16/3/382/htm).
         21
          Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
www.atsdr.cdc.gov/spl/index.html#2019spl).
        22
           Klara Gustin et al., Cadmium Exposure and Cognitive Abilities and Behavior at 10 Years Off Age: A
Prospective Cohort Study (Apr. 2018) (online at www.sciencedirect.com/science/article/pii/S0160412017321025).
         23
          Alison P. Sanders et al., Perinatal and Childhood Exposure To Cadmium, Manganese, And Metal
Mixtures And Effects On Cognition And Behavior: A Review Of Recent Literature (July 5, 2015) (online at
www.ncbi.nlm.nih.gov/pmc/articles/PMC4531257/).
         24
           Min-Jing Lee et al., Heavy Metals’ Effect on Susceptibility to Attention-Deficit/Hyperactivity Disorder:
Implication of Lead, Cadmium, and Antimony (June 10, 2018) (online at
www.ncbi.nlm.nih.gov/pmc/articles/PMC6025252/).
         25
          Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
www.atsdr.cdc.gov/spl/index.html#2019spl).
         26
          Margaret R. Karagas et al., Evidence on the Human Health Effects of Low-Level Methylmercury
Exposure (June 1, 2012) (online at https://ehp.niehs.nih.gov/doi/10.1289/ehp.1104494).
        27
           Joseph Jacobson et al., Relation of Prenatal Methylmercury Exposure from Environmental Sources to
Childhood IQ (Aug. 1, 2015) (online at https://ehp.niehs.nih.gov/doi/10.1289/ehp.1408554).




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“2 and 3 years of age were positively associated with autistic behaviors among preschool-age
children.” 28

II.     TOP BABY FOODS ARE TAINTED WITH DANGEROUS LEVELS OF INORGANIC
        ARSENIC, LEAD, CADMIUM, AND MERCURY.

       Internal company test results obtained by the Subcommittee confirm that all responding
baby food manufacturers sold baby foods tainted by high levels of toxic heavy metals.


        A.       Inorganic Arsenic

        There is no established safe level of inorganic arsenic consumption for babies.
Organizations such as Healthy Babies Bright Futures have called for a goal of no measurable
amount of inorganic arsenic in baby food. 29 Consumer Reports suggests setting inorganic
arsenic levels as low as 3 parts per billion (ppb). 30 FDA has already set maximum inorganic
arsenic levels at 10 ppb for bottled water. 31 The Environmental Protection Agency (EPA) has
similarly set a 10 ppb inorganic arsenic cap on drinking water, as have the European Union (EU)
and the World Health Organization (WHO). 32

        1.       Nurture (HappyBABY) sold finished baby foods after testing showed they
                 contained as much as 180 ppb inorganic arsenic; over 25% of the tested baby
                 food sold by Nurture exceeded 100 ppb inorganic arsenic; on average,
                 Nurture baby food on store shelves has nearly 60 ppb inorganic arsenic.

       Nurture is the only baby food manufacturer that appears to regularly tests its finished
baby food products for inorganic arsenic content (the others only test ingredients).


         28
            Jia Ryu et al., Associations of Prenatal and Early Childhood Mercury Exposure with Autistic Behaviors
at 5 Years of Age: The Mothers and Children's Environmental Health (MOCEH) Study (Dec. 15, 2017) (online at
www.sciencedirect.com/science/article/pii/S0048969717316479).
        29
            Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
(online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
        30
            Consumer Reports, Arsenic in Some Bottled Water Brands at Unsafe Levels, Consumer Reports Says
(June 28, 2019) (online at www.consumerreports.org/water-quality/arsenic-in-some-bottled-water-brands-at-unsafe-
levels/); Consumer Reports, Arsenic and Lead Are in Your Fruit Juice: What You Need to Know (Jan. 30, 2019)
(online at www.consumerreports.org/food-safety/arsenic-and-lead-are-in-your-fruit-juice-what-you-need-to-know/).
        31
         Food and Drug Administration, Arsenic in Food and Dietary Supplements (online at
www.fda.gov/food/metals-and-your-food/arsenic-food-and-dietary-supplements) (accessed Jan. 26, 2021).
        32
            Environmental Protection Agency, Drinking Water Requirements for States and Public Water Systems
(online at www.epa.gov/dwreginfo/chemical-contaminant-rules) (accessed Jan. 26, 2021); The European Food
Information Council, Arsenic (Q&A) (online at www.eufic.org/en/food-safety/article/arsenic-qa) (accessed Jan. 26,
2021); World Health Organization, Arsenic (Feb. 15, 2018) (online at www.who.int/news-room/fact-
sheets/detail/arsenic).




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        According to internal company documents, Nurture sells products even after testing
confirms that they are dangerously high in inorganic arsenic. Nurture sold one such product,
Apple and Broccoli Puffs, despite tests results showing it contained 180 ppb inorganic arsenic. 33
An arsenic level of 180 ppb is high by all standards, but it is 80% higher than Nurture’s own
internal goal threshold of 100 ppb.

Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 34




        Nurture routinely sold products that exceeded its internal standards. Twenty-nine other
products that Nurture tested and sold registered over 100 ppb inorganic arsenic. In total, over
25% of the products that Nurture tested for inorganic arsenic, and sold, had inorganic arsenic
levels above 100 ppb. 35

Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 36

 Product Name                        Goal                Result        Date of Test Report Disposition
                                     Threshold
 Apple & Broccoli Puffs              100                 180           11/01/17                   Sell
 Banana & Pumpkin Puffs              100                 160           10/31/17                   Sell
 Strawberry & Beet Puffs             100                 160           10/31/17                   Sell
 Kale & Spinach Puffs                100                 150           10/31/17                   Sell
 Kale & Spinach Puffs                100                 150           10/31/17                   Sell
 Purple Carrot & Blueberry           100                 150           11/17/17                   Sell
 Puffs
 Sweet Potato & Carrot Puffs         100                 150           10/31/17                   Sell
 Sweet Potato & Carrot Puffs         100                 150           10/31/17                   Sell
 Apple Rice Cakes                    100                 130           02/08/17                   Sell
 Apple Rice Cakes                    100                 130           02/08/17                   Sell
 Sweet Potato & Carrot Puffs         100                 122           09/13/18                   Sell
 Apple Rice Cakes                    100                 120           02/08/17                   Sell

         33
            Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
        34
             Id.
        35
             Id.
        36
             Id.




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 Blueberry Beet Rice Cakes     100              120         02/08/17               Sell
 Purple Carrot & Blueberry     100              120         10/31/17               Sell
 Puffs
 Apple & Broccoli Puffs        100              115         10/15/18               Sell
 Strawberry & Beet Puffs       100              114         03/21/19               Sell
 Purple Carrot & Blueberry     100              112         06/05/18               Sell
 Puffs
 Apple Rice Cakes              100              110         07/28/17               Sell
 Blueberry Beet Rice Cakes     100              110         02/08/17               Sell
 Blueberry Beet Rice Cakes     100              110         02/08/17               Sell
 Strawberry & Beet Puffs       100              108         12/10/18               Sell
 Strawberry & Beet Puffs       100              108         09/21/18               Sell
 Apple & Broccoli Puffs        100              107         05/30/19               Sell
 Strawberry & Beet Puffs       100              107         05/22/19               Sell
 Strawberry & Beet Puffs       100              105         09/21/18               Sell
 Strawberry & Beet Puffs       100              104         08/22/18               Sell
 Banana & Pumpkin Puffs        100              103         04/24/19               Sell
 Sweet Potato & Carrot Puffs   100              103         04/24/19               Sell
 Banana & Pumpkin Puffs        100              101         09/21/18               Sell

       The average amount of inorganic arsenic in the baby foods that Nurture tested and sold
was 59.54 ppb. That towers over existing and recommended standards, including FDA’s and
EPA’s water limits of 10 ppb.

       At least 89 of Nurture’s final products—over 78% of those products tested—tested at
9 ppb inorganic arsenic or above.

       For results under 9.54 ppb, Nurture did not differentiate—it marked them all as “<9.54.”
Because of this “less than” reporting format, there is no way to know if any of Nurture’s
products were free of inorganic arsenic.

Summary of Nurture’s Inorganic Arsenic Results

 180 ppb – Nurture’s product with the highest amount of inorganic arsenic: Apple &
 Broccoli Puffs.
 >100 ppb – Over 25% of the baby food products that were tested for inorganic arsenic
 had over 100 ppb inorganic arsenic.
 59.54 ppb – Average amount of inorganic arsenic in all baby food products tested for
 inorganic arsenic.
 >50 ppb – Over 50% of Nurture’s baby food products that were tested for inorganic
 arsenic contained over 50 ppb inorganic arsenic.

       2.     Hain (Earth’s Best Organic) produced finished baby foods that contained as
              much as 129 ppb inorganic arsenic; Hain used ingredients in its baby foods
              with as much at 309 ppb total arsenic.



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        Hain does not regularly test finished baby food products for inorganic arsenic content. It
typically only tests ingredients. However, when Hain did test a small sample of finished product,
it found 129 ppb inorganic arsenic. 37

Hain Celestial, FDA Testing Result Investigation, August 1, 2019 (Excerpted Entries) 38




        The Subcommittee’s review of the ingredient test results reveals that Hain routinely used
ingredients with high levels of arsenic. Hain used brown rice flour that had tested at 309 ppb
arsenic. 39 Hain likewise used a vitamin pre-mix containing 223 ppb arsenic, and raisin and
wheat flour containing 200 ppb arsenic. 40 The testing data shows that Hain used at least 24
ingredients after testing found that they contained more than 100 ppb arsenic, its already-
dangerously-high internal standard for most ingredients. 41

Hain, Raw Material Pre-Shipment Test Data History (Excerpted Entries) 42

 Lab Results        Product Description                   Status                      Arsenic        Arsenic
 Date                                                                                 Spec Limit     Result
                                                                                      (ppb)          (ppb)
 Jun/19/2019        Org Brown Rice Flour                  Deviation Approved          100            309
 Nov/26/2019        Vitamin Pre-Mix                       Deviation Approved          100            223
 Jul/10/2018        Org Whole Raisins                     Accepted                    100            200
 Sep/29/2017        Org Soft White Wheat Flour            Accepted                    200            200
 Dec/14/2017        Org Spelt Flour                       Accepted                    100            190
 Jan/8/2018         Organic Barley Malt Extract           Accepted                    100            180
 Dec/5/2017         Org Yellow Split Pea Powder           Accepted                    100            160
 Jul/13/2017        Medium Grain Whole Rice               Accepted                    200            150
 Oct/3/2017         Org Brown Rice Flour                  Accepted                    100            140
 Sep/4/2019         Org Brown Rice Flour                  Deviation Approved          100            134
 Dec/5/2017         Org Butternut Squash Puree            Accepted                    100            130
 Oct/31/2017        Org Brown Rice Flour                  Accepted                    100            130
        37
            Hain, PowerPoint Presentation to FDA: FDA Testing Result Investigation (Aug. 1, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
        38
             Id.
          39
             Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).
        40
             Id.
        41
             Id.
        42
             Id.




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 Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         130
 Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         129
 Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         129
 Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         129
 Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         127
 Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         126
 Dec/13/2017        Org Blueberry Puree                  Accepted                   100         120
 Dec/27/2017        Org Barley Flour                     Accepted                   100         120
 Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         119
 Nov/29/2017        Org Blueberry Puree                  Accepted                   100         110
 Nov/3/2017         Org Cinnamon Powder                  Accepted                   100         110
 Jul/11/2019        Org Brown Rice Flour                 Accepted                   100         101

        3.         Beech-Nut used ingredients in its baby foods with as much at 913.4 ppb
                   arsenic; Beech-Nut routinely used ingredients that exceeded 300 ppb total
                   arsenic; Beech-Nut unnecessarily uses high-arsenic additives to address
                   issues like “crumb softness.”

        Beech-Nut only tested arsenic content in its ingredients, not its final product. The
Subcommittee has determined that Beech-Nut used ingredients containing as much as 913.4 ppb
arsenic. 43 Test results show that Beech-Nut used at least fourteen other ingredients containing
over 300 ppb arsenic. 44 And it used at least 45 ingredients containing over 100 ppb arsenic.

Beech-Nut, Raw Material Heavy Metal Testing (Excerpted Entries) 45

 Date                    Commodity                  Arsenic           Spec.               Acceptance
                                                    Result                                (Y/N)
                                                    (ppb)
 9/19/2018               Amylase                    913.40            N/A                 Y
 4/26/2018               Amylase                    741.10            N/A                 Y
 10/7/2017               BAN 800                    710.90            <3000               Y
 11/29/2017              Alpha Amylase              679.00            N/A                 Y
 10/12/2017              Amylase                    645.10            N/A                 Y
 8/20/2019               Sebamyl 100                583.60            N/A                 Y
 3/6/2018                Org. Rice Flour            570.00            ≤100(inorg)         Y
 6/7/2019                Enzyme                     499.30            N/A                 Y
 12/20/2017              BAN 800                    465.20            <3000               Y
 1/14/2019               Enzyme                     442.30            N/A                 Y
 10/23/2017              BAN 800                    401.40            <3000               Y

        43
            Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).
        44
             Id.
        45
             Id.




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 2/19/2018             BAN 800                  382.00          <3000                Y
 6/12/2018             Ban 800                  353.80          <3000                Y
 5/21/2018             Org. Cumin               322.70          ≤1000                Y
 4/13/2018             Org. Rice                237.40          ≤100(inorg)          Y
 4/12/2018             Rice Flour               170.00          ≤100(inorg)          Y
 4/6/2018              Rice Flour               170.00          ≤100(inorg)          Y
 7/14/2017             Org. Cumin               168.50          ≤1000                y
 7/31/2018             rice flour               162.00          ≤100(inorg)          Y
 2/28/2018             Rice Flour               161.00          ≤100(inorg)          y
 3/30/2017             Cumin                    160.50          ≤1000                Y
 3/27/2018             Rice Flour               160.00          ≤100(inorg)          Y
 5/30/2018             Rice Flour               160.00          ≤100(inorg)          Y
 6/12/2018             Rice Flour               160.00          ≤100(inorg)          Y
 7/20/2018             Rice Flour               160.00          ≤100(inorg)          Y
 10/11/2016            Oregano                  158.10          <1000                Y
 1/15/2018             Rice Flour               150.00          ≤100(inorg)          Y
 1/15/2018             Rice Flour               150.00          ≤100(inorg)          Y
 2/15/2018             Rice Flour               150.00          ≤100(inorg)          Y
 5/31/2018             Rice Flour               150.00          ≤100(inorg)          Y
 2/22/2018             Rice Flour               140.00          ≤100(inorg)          Y
 1/6/2018              Rice Flour               140.00          ≤100(inorg)          Y
 4/6/2018              Rice Flour               140.00          ≤100(inorg)          Y
 9/4/2019              Org. rice                132.30          ≤200                 Y
 11/3/2017             Org.Cumin                130.20          ≤1000                Y
 2/15/2018             Rice Flour               130.00          ≤100(inorg)          Y
 2/5/2018              Rice Flour               130.00          ≤100(inorg)          Y
 2/8/2018              Rice Flour               130.00          ≤100(inorg)          Y
 1/5/2018              Rice Flour               122.30          ≤100(inorg)          Y
 1/5/2018              Rice Flour               120.80          ≤100(inorg)          Y
 2/8/2018              Rice Flour               120.00          ≤100(inorg)          Y
 1/18/2017             Org.Rice                 110.00          ≤200                 Y
 5/8/2018              Rice Flour               110.00          ≤100(inorg)          Y
 5/17/2017             Rice                     110.00          ≤200                 Y
 2/6/2017              Vitamin Mix              106.90          <3000                Y

        The six Beech-Nut ingredients with the highest arsenic levels—Amylase, BAN 800,
Alpha Amylase, and Sebamyl 100—are all enzymes that Beech-Nut adds to its products. BAN
800 is an enzyme that reportedly “[i]ncreases crumb softness” in baked goods. 46 Amylase is an


        46
          Novozymes, Meet Consumer Demands with Enzymes that Support Organic Labeling (May 2018) (online
at www.novozymes.com/-/media/Project/Novozymes/Website/website/document-library/Advance-your-
business/Baking/Baking-Product-Range-for-Organic-Production.pdf).




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enzyme that is “used in bread-making as an additive to improve the conversion of complex
sugars into simple sugars that yeast are then able to feed on and produce alcohol and CO2.” 47

        4.         Gerber used 67 batches of rice flour that had more than 90 ppb inorganic
                   arsenic.

        Gerber did not provide inorganic arsenic results for all of its ingredients. However, test
results for conventional rice flour revealed that Gerber routinely used flour with over 90 ppb
inorganic arsenic. 48 Gerber used five batches of rice flour that had 98 ppb inorganic arsenic, and
67 batches that contained more than 90 ppb.

Gerber Products Company Test Results (Excerpted Entries) 49

 Year          Ingredient                                             Total Arsenic        Inorganic
                                                                      (ppb)                Arsenic (ppb)
 2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
 2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
 2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
 2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
 2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
 2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
 2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
 2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
 2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
 2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
 2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
 2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
 2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
 2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
 2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
 2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
 2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
 2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
 2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
 2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96


        47
             ChefSteps, Amylase (online at www.chefsteps.com/ingredients/amylase) (accessed Jan. 26, 2021).
        48
            Gerber, Gerber Products Company Test Results (Dec. 9, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).
        49
             Id.




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2019   Flour Rice Long Grain Tote NGM InfG Kshr   105          96
2018   Flour Rice Long Grain Tote NGM InfG Kshr   123          95
2018   Flour Rice Long Grain Tote NGM InfG Kshr   123          95
2018   Flour Rice Long Grain Tote NGM InfG Kshr   95           95
2018   Flour Rice Long Grain Tote NGM InfG Kshr   123          95
2018   Flour Rice Long Grain Tote NGM InfG Kshr   123          95
2018   Flour Rice Long Grain Tote NGM InfG Kshr   124          95
2018   Flour Rice Long Grain Tote NGM InfG Kshr   124          95
2018   Flour Rice Long Grain Tote NGM InfG Kshr   124          95
2018   Flour Rice Long Grain Tote NGM InfG Kshr   124          95
2017   Flour Rice Long Grain Tote NGM InfG Kshr   118          94
2017   Flour Rice Long Grain Tote NGM InfG Kshr   118          94
2017   Flour Rice Long Grain Tote NGM InfG Kshr   94           94
2017   Flour Rice Long Grain Tote NGM InfG Kshr   118          94
2017   Flour Rice Long Grain Tote NGM InfG Kshr   118          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   111          94
2018   Flour Rice Long Grain Tote NGM InfG Kshr   121          93
2017   Flour Rice Long Grain Tote NGM InfG Kshr   123          92
2017   Flour Rice Long Grain Tote NGM InfG Kshr   123          92
2017   Flour Rice Long Grain Tote NGM InfG Kshr   123          92
2017   Flour Rice Long Grain Tote NGM InfG Kshr   123          92
2017   Flour Rice Long Grain Tote NGM InfG Kshr   108          92
2017   Flour Rice Long Grain Tote NGM InfG Kshr   92           92
2017   Flour Rice Long Grain Tote NGM InfG Kshr   108          92
2017   Flour Rice Long Grain Tote NGM InfG Kshr   108          92
2017   Flour Rice Long Grain Tote NGM InfG Kshr   108          92
2018   Flour Rice Long Grain Tote NGM InfG Kshr   120          92



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 2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
 2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
 2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
 2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
 2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
 2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
 2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
 2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
 2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
 2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91

        B.       Lead

       There is a growing consensus among health experts that lead levels in baby foods should
not exceed 1 ppb. The American Academy for Pediatrics, the Environmental Defense Fund, and
Consumer Reports have all, in some form, called for a 1 ppb level in food and drinks that babies
and children consume. 50 Healthy Babies Bright Futures has called for a goal of no measurable
amount of lead in baby food. 51

        There is no federal standard for lead in baby food. However, FDA has set a 5 ppb lead
standard for bottled water, WHO has set 10 ppb lead as a provisional guideline for drinking
water, and EPA has set an action level of 15 ppb for lead in drinking water. FDA has also set
standards for lead in juice (50 ppb) and candy (100 ppb). The European Union has set the
maximum lead level in infant formula to 20 ppb. 52




        50
            American Academy of Pediatrics, Prevention of Childhood Lead Toxicity (May 5, 2016) (online at
https://pediatrics.aappublications.org/content/pediatrics/early/2016/06/16/peds.2016-1493.full.pdf); Environmental
Defense Fund, Lead in Food: A Hidden Health Threat (June 15, 2017) (online at
www.edf.org/sites/default/files/edf_lead_food_report_final.pdf); Consumer Reports, Consumer Reports Letter to
FDA on Reducing Heavy Elements Like Arsenic, Lead, and Cadmium in Fruit Juices (Jan. 30, 2019) (online at
https://advocacy.consumerreports.org/research/consumer-reports-letter-to-fda-on-reducing-heavy-elements-like-
arsenic-lead-and-cadmium-in-fruit-juices/).
        51
            Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
(online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
        52
           World Health Organization, Lead in Drinking-Water (2011) (online at
www.who.int/water_sanitation_health/dwq/chemicals/lead.pdf); Environmental Protection Agency, Drinking Water
Requirements for States and Public Water Systems (online at www.epa.gov/dwreginfo/lead-and-copper-rule)
(accessed Jan. 26, 2021); European Union, Setting Maximum Levels for Certain Contaminants in Foodstuffs (Dec.
19, 2006) (online at https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=CELEX:02006R1881-20150521).




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Proposed and Existing Lead Standards

 Group or Agency               Standard

 Environmental                 1 ppb, especially for baby food
 Defense Fund
 Consumer Reports              1 ppb in fruit juices
 American Academy of           1 ppb for water fountains in schools
 Pediatrics (AAP)
 FDA                           5 ppb for bottled water
 World Health                  10 ppb provisional guideline
 Organization
 EPA                           15 ppb for drinking water (action level)
 European Union (EU)           20 ppb for “infant formulae and follow-on formulae”

 FDA                           50 ppb for juice
                               100 ppb for candy

        The Subcommittee’s investigation has found that baby food manufacturers are selling
baby food with higher levels of lead than what is allowed by existing standards for water, juice,
and candy. Internal testing data from Gerber, Nurture, Beech-Nut, and Hain demonstrate that all
four companies sold products or used ingredients with significant amounts of lead. Only Nurture
routinely tested its finished product for lead. Hain, Beech-Nut, and Gerber did not test their
finished products, only their ingredients. All companies, whether they test their final products or
merely their ingredients, sold baby foods even when they or their ingredients contained unsafe
levels of lead.

        1.         Nurture (HappyBABY) sold finished baby food products after testing
                   confirmed they contained as much as 641 ppb lead, over six times its already-
                   dangerously-high internal standard.

        Nurture sold products that tested as high as 641 ppb lead—over six times higher than its
internal limit of 100 ppb lead. 53 Nurture also sold five other products after they tested over 50
ppb lead. 54




        53
            Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
        54
             Id.




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Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 55




         Of the 206 finished products that Nurture tested for lead, 16 products registered over
20 ppb lead—exceeding the lenient EU standard. And 39 products, or 18.9%, tested over 10 ppb
lead. 56 It is not clear that even one of Nurture’s baby food products registered at or below 1 ppb
lead, which should be the upper limit for lead content according to the health experts at
Consumer Reports, the Environmental Defense Fund, and the American Academy of Pediatrics.

        2.         Beech-Nut used ingredients containing as much as 886.9 ppb lead; Beech-Nut
                   routinely used ingredients with high lead content, including 483 ingredients
                   that contained over 5 ppb lead, 89 ingredients that contained over 15 ppb
                   lead, and 57 ingredients that contained over 20 ppb lead.

       Beech-Nut used ingredients in its baby foods that contained high lead levels. For
instance, Beech-Nut used cinnamon that contained 886.9 ppb lead. 57

Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entry) 58




       Beech-Nut tested and used 57 ingredients that contained over 20 ppb lead, the EU’s lax
standard for lead in infant formula. Beech-Nut accepted 89 ingredients that tested at or over 15
ppb lead, EPA’s action level for drinking water, and 483 ingredients that tested at or over 5 ppb
lead, FDA’s standard for lead in bottled water. 59




        55
             Id.
        56
             Id.
        57
            Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).
        58
             Id.
        59
             Id.




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Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 60

 Date              Commodity            Lead result (ppb)   Spec.      Acceptance (Y/N)

 10/19/2016        Cinnamon             886.9               ≤1000      Y

 5/21/2018         Org. Cumin           644.9               ≤1000      Y

 8/11/2017         Org. Coriander       603.5               <1000      Y

 10/11/2016        Oregano              570.4               <1000      Y

 7/14/2017         Org. Cumin           231.2               ≤1000      y

 5/31/2017         Cinnamon             203.9               ≤1000      Y

 3/30/2017         Cumin                177.7               ≤1000      Y

 11/3/2017         Org. Cumin           167.7               ≤1000      Y

 12/5/2017         Org. Cinnamon        126.2               ≤1000      Y

 11/29/2017        Alpha Amylase        114.5               <300       Y

 9/19/2018         Amylase              108.8               <300       Y

 7/11/2017         Org. Lemon           102                 ≤160       Y

 7/8/2019          Org. Cinnamon        100                 ≤1000      Y

 7/12/2019         Org. Cinnamon        100                 ≤1000      Y

 10/12/2017        Amylase              95.8                <300       Y

 4/26/2018         Amylase              91                  <300       Y

 4/12/2017         Turmeric             76.3                ≤1000      Y

 8/27/2018         Sunflower Lecithin   71.6                ≤100       Y

 8/3/2017          Org. Lemon           63.7                ≤160       Y




        60
             Id.




                                               24
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4/11/2018      Org. Cinnamon        59                ≤1000    Y

11/2/2018      S. Potato            55.3              ≤15      Y

4/21/2017      Sunflower Lecithin   54.9              ≤100     Y

8/15/2018      Quinoa Flour         51.6              <75      Y

11/2/2018      S. Potato            50.1              ≤15      Y

10/25/2016     Lemon                47.5              ≤160     Y

1/14/2019      Enzyme               47.3              <300     Y

5/31/2018      Prune Puree          41.5              ≤40      Y - ER

11/6/2018      S. Potato            40.3              ≤15      Y

9/29/2017      Org. Turmeric        39.3              ≤1000    Y

9/13/2019      Org. Cinnamon        37.8              ≤1000    Y

8/11/2017      Org. Cinnamon        36.7              ≤1000    y

11/6/2018      S. Potato            35.2              ≤15      Y

11/2/2018      S. Potato            34.9              ≤15      Y

10/10/2018     Dehydrated Potato    32.4              <75      Y - ER

8/2/2018       Mango                32.3              ≤20      Y

11/2/2018      S. Potato            31.8              ≤15      Y

6/11/2018      Sunflower Lecithin   31.7              ≤100     Y

8/6/2018       Prune                31.1              ≤40

8/20/2019      Sebamyl 100          30.6              <300     Y

3/19/2018      Org. Prune           30                ≤40      Y

9/20/2016      Apricot              28                ≤20      Y - ER

2/13/2019      Org. Prune           27.9              ≤40      Y - ER




                                           25
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 6/7/2019             Enzyme                      26.3                      <300            Y

 6/19/2018            Org. Quinoa Flour           25.3                      <75             Y - ER

 2/6/2017             Vitamin Mix                 24.6                      <10             Y

 9/28/2017            Org. Quinoa Seeds           24.2                      <75             Y

 9/28/2017            Org. Quinoa Seeds           24.2                      <75             Y

 2/1/2019             Blueberry                   22.7                      <25             Y

 11/6/2018            S. Potato                   22                        ≤15             Y

 3/18/2019            Org. Pears                  21.7                      <10

 6/14/2019            Sunflower Lecithin          21                        ≤100            Y

 3/20/2018            Carrots                     20                        <25             Y - ER

 3/20/2018            Carrots                     20                        <25             Y - ER

 3/19/2018            Carrots                     20                        <25             Y - ER

 3/19/2018            Carrots                     20                        <25             Y - ER

 3/16/2017            Sunflower Lecithin          20                        ≤100            Y

 3/1/2019             Org. Cinnamon               20                        ≤1000           Y


        3.       Hain (Earth’s Best Organic) used ingredients containing as much as 352 ppb
                 lead; Hain consistently used baby food ingredients with high lead content,
                 including 88 ingredients that tested over 20 ppb lead and six ingredients that
                 tested over 200 ppb lead.

       Hain used an ingredient called vitamin pre-mix in its baby food that contained as much as
352 ppb lead. 61




          61
             Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).




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Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entry) 62




        Hain used six ingredients that tested above 200 ppb lead. Hain used 88 ingredients with
lead levels at or over 20 ppb—the EU’s standard for lead in infant formula. Hain accepted 115
ingredients that registered at or over 15 ppb—EPA’s action level for drinking water. And at
least 27% of Hain ingredients tested at or over 5 ppb lead, FDA’s standard for lead in bottled
water. None of the test results showed an ingredient below 1 ppb lead, which should be the
upper limit for lead content according to the health experts at Consumer Reports, the
Environmental Defense Fund, and the American Academy of Pediatrics.

Hain’s Raw Material Pre-Shipment Test Data History (Excepted Entries for Ingredients
Above 200 ppb Lead) 63




        4.         Gerber used ingredients that tested as high as 48 ppb lead; and routinely
                   accepted ingredients containing over 20 ppb lead.

       Gerber produced limited lead testing results. The results for its sweet potatoes and juices
demonstrated its willingness to use ingredients that contained dangerous lead levels. Gerber
used an ingredient, conventional sweet potatoes, with 48 ppb lead. Gerber also used twelve other
batches of sweet potato that tested over 20 ppb for lead, the EU’s lenient upper standard. 64




        62
             Id.
        63
             Id.
          64
             Gerber, Gerber Products Company Test Results (Dec. 9, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).




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Gerber Products Company Test Results (Excerpted Entries) 65

 Year                    Ingredient                                     Lead Level (ppb)
 2017                    Conventional                                   48
 2017                    Organic                                        35
 2017                    Organic                                        34
 2017                    Organic                                        34
 2018                    Conventional                                   34
 2019                    Conventional                                   34
 2019                    Conventional                                   34
 2018                    Organic                                        25
 2019                    Organic                                        25
 2018                    Organic                                        22
 2018                    Organic                                        22
 2018                    Organic                                        21
 2019                    Conventional                                   21

        The average amount of lead in Gerber’s tested juice concentrates was 11.2 ppb—more
than FDA’s limit for lead in bottled water. Over 83% of the juice concentrates tested showed
greater than 1 ppb lead, which is Consumer Reports’ recommended limit for fruit juices.

Gerber Products Company Test Results (Excerpted Entries) 66




        65
             Id.
        66
             Id.




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        C.       Cadmium

        Outside the context of baby food, some regulation has taken action against cadmium. For
example, EPA has a limit of 5 ppb in drinking water, and FDA has set a limit of 5 ppb in bottled
water. 67 These standards approach WHO’s 3 ppb limit for cadmium in drinking water. 68

         Groups like Healthy Babies Bright Futures have set a goal of no measurable amount of
cadmium in baby food. 69 Consumer Reports has called for a limit of 1 ppb cadmium in fruit
juices. 70 And the EU has set a limit ranging from 5–20 ppb cadmium for infant formula.

       The Subcommittee found that baby food manufacturers sold many products with much
higher cadmium content.

Proposed and Existing Cadmium Standards

 Group or Agency             Standard
 Consumer Reports            1 ppb in all fruit juices
 World Health                3 ppb for drinking water
 Organization
 EPA                         5 ppb for drinking water
 FDA                         5 ppb for drinking water
 European Union (EU)         5-20 ppb for infant formulae

        1.       Beech-Nut used ingredients in its baby food containing up to 344.55 ppb
                 cadmium; 105 Beech-Nut ingredients tested over 20 ppb cadmium.

      Beech-Nut used twenty ingredients registering over 100 ppb cadmium, including
cinnamon containing 344.5 ppb cadmium. 71 That is more than 17 times higher than the EU’s lax



        67
           Environmental Protection Agency, Ground Water and Drinking Water (online at www.epa.gov/ground-
water-and-drinking-water/national-primary-drinking-water-regulations) (accessed Jan. 26, 2021); 21 C.F.R. § 165
(2019) (online at www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/cfrsearch.cfm?fr=165.110).
      68
         World Health Organization, Cadmium in Drinking-Water (2011) (online at
www.who.int/water_sanitation_health/water-quality/guidelines/chemicals/cadmium.pdf?ua=1).
        69
            Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
(online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
        70
            Consumer Reports, Consumer Reports Letter To FDA On Reducing Heavy Elements Like Arsenic, Lead,
and Cadmium in Fruit Juices (Jan. 30, 2019) (online at https://advocacy.consumerreports.org/research/consumer-
reports-letter-to-fda-on-reducing-heavy-elements-like-arsenic-lead-and-cadmium-in-fruit-juices/); European Union,
Setting Maximum Levels for Certain Contaminants in Foodstuffs (Dec. 19, 2006) (online at https://eur-
lex.europa.eu/legal-content/EN/TXT/?uri=CELEX:02006R1881-20150521).
         71
            Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).




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upper limit on cadmium in baby food. At least 105 ingredients that Beech-Nut tested and used in
baby foods registered at or over 20 ppb cadmium—the EU’s lax infant formula upper limit. 72

Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 73

 Date                     Commodity                    Cadmium              Spec.           Acceptance
                                                       Result (ppb)                         (Y/N)
 10/19/2016               Cinnamon                     344.50               ≤1000           Y
 4/11/2018                Org. Cinnamon                225.10               ≤1000           Y
 5/31/2017                Cinnamon                     194.30               ≤1000           Y
 6/8/2018                 Org. Garlic                  186.00               ≤1000           Y
 8/11/2017                Org.Cinnamon                 178.20               ≤1000           y
 10/11/2016               Oregano                      176.50               <1000           Y
 12/5/2017                Org. Cinnamon                163.40               ≤1000           Y
 11/29/2017               Dehydrated Potato            148.40               <90             Y - ER
 10/10/2018               Dehydrated Potato            146.00               <90             Y
 10/10/2018               Dehydrated Potato            143.50               <90             Y - ER
 7/10/2019                Spinach Puree                143.00               <180            Y
 7/2/2018                 Fresh Spinach                142.30               <180            Y
 7/8/2019                 Org. Cinnamon                140.00               ≤1000           Y
 7/12/2019                Org. Cinnamon                140.00               ≤1000           Y
 3/1/2019                 Org. Cinnamon                120.00               ≤1000           Y
 11/29/2017               Dehydrated Potato            119.60               <90             Y - ER
 9/13/2019                Org. Cinnamon                117.30               ≤1000           Y
 7/15/2019                Spinach                      117.00               <180            Y
 7/15/2019                Spinach                      101.00               <180            Y
 7/15/2019                Spinach                      101.00               <180            Y

        2.         Hain (Earth’s Best Organic) used ingredients in its baby food containing up
                   to 260 ppb cadmium; 102 Hain ingredients tested over 20 ppb cadmium.

        Hain used 14 ingredients that contained more than 100 ppb cadmium, including barley
flour that registered at 260 ppb cadmium. 74 That is thirteen times the EU’s lax upper limit on
cadmium in baby food. Hain tested and used 102 ingredients that registered at or above 20 ppb
cadmium—the EU’s lax upper limit.




        72
             Id.
        73
             Id.
          74
             Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).




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Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 75

 Lab Results           Products Description               Status            Cadmium               Cadmium
 Date                                                                       Spec. limit           Result (ppb)
                                                                            (ppb)
 Jan/19/2018           Org Barley Flour                   Accepted          100                   260
 Jan/22/2018           IQF Org Chopped Broccoli           Accepted          100                   250
 Jan/23/2018           Org Date Paste                     Accepted          100                   220
 Nov/3/2017            Org Cinnamon Powder                Accepted          100                   200
 Aug/21/2017           Org Brown Flax Milled              Accepted          100                   190
 Jan/22/2018           Org Date Paste                     Accepted          100                   190
 Jan/18/2018           Org Yellow Papaya Puree            Accepted          100                   170
 Jan/19/2018           Org Whole Wheat Fine               Accepted          100                   160
                       Flour
 Aug/17/2017           Org Red Lentils                    Accepted          100                   130
 Jan/15/2018           Org Oat Flakes                     Accepted          100                   130
 Jun/13/2018           Org Brown Flax Milled              Accepted          100                   121
 Jan/12/2018           Org Barley Flour                   Accepted          100                   110
 Jun/25/2018           Org Oat Flour                      Accepted          100                   102
 Feb/19/2019           Org Cinnamon Powder                Deviation         100                   102
                                                          Approved

        3.         Sixty-five percent of Nurture (HappyBABY) finished baby food products
                   contained more than 5 ppb cadmium, the EPA’s limit for drinking water.

         Nurture sold multi-grain cereal with 49 ppb cadmium. Nurture sold another 125 products
that tested over 5 ppb, which is the EPA’s limit for drinking water. 76

Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 77




        75
             Id.
        76
            Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
        77
             Id.




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        4.         Gerber used carrots containing as much as 87 ppb cadmium; 75% of
                   Gerber’s carrots contain cadmium in excess of 5 ppb.

       Gerber does not test all its ingredients for cadmium. Of those it does test, it accepts
ingredients with high levels of cadmium. Gerber used multiple batches of carrots containing as
much as 87 ppb cadmium, and 75% of the carrots Gerber used had more than 5 ppb cadmium—
the EPA’s drinking water standard. 78

Gerber Products Company Test Results (Excerpted Entries) 79




        D.         Mercury

        Outside the context of baby food, some regulation has taken action against mercury.
EPA, for example, has capped mercury in drinking water at 2 ppb. 80 Consumer advocates urge
even stricter standards for baby food. For example, Health Babies Bright Futures has called for a
goal of no measurable amount of mercury in baby food. 81

        1.         Nurture (HappyBABY) sold finished baby food products containing as much
                   as 10 ppb mercury.

        Nurture sold a finished baby food product that contained 10 ppb mercury, and two others
that contained 9.8 and 7.3 ppb. A level of 10 ppb is five times more than the EPA’s 2 ppb
standard for drinking water. In total, Nurture sold 56 products that contained over 2 ppb
mercury. 82




        78
            Gerber, Gerber Products Company Test Results (Dec. 9, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).
        79
             Id.
        80
          Environmental Protection Agency, Ground Water and Drinking Water (online at www.epa.gov/ground-
water-and-drinking-water/national-primary-drinking-water-regulations) (accessed Jan. 26, 2021).
         81
            Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
(online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
         82
            Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).




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Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 83




         2.         Beech-Nut and Hain (Earth’s Best Organic) did not even test for mercury in
                    baby food; Gerber barely tests for it.

       From the documents produced to this Subcommittee, it appears that neither Beech-Nut
nor Hain tests their ingredients or their finished products for mercury.

      Gerber only tests certain ingredients for mercury. Of the test results they presented to the
Subcommittee, they only tested carrots, sweet potatoes, and lemon juice concentrate.

III.     INDUSTRY SELF-REGULATION FAILS TO PROTECT CONSUMERS: NURTURE,
         BEECH-NUT, HAIN, AND GERBER SET THEIR OWN DANGEROUSLY HIGH
         INTERNAL STANDARDS FOR TOXIC HEAVY METAL LEVELS AND ROUTINELY
         IGNORED THEM TO SELL PRODUCTS WITH HIGHER HEAVY METAL LEVELS.

        Baby food manufacturers are free to set their own internal standards for toxic heavy metal
content of their products. They have set those standards at dangerously high levels and have
often sold foods that exceed even those levels.

         A.         Nurture (HappyBABY) sets high internal standards and regularly exceeds
                    them. Nurture admits that its toxic heavy metal testing is not for safety—it
                    sells all products tested, regardless of its toxic heavy metal content. FDA has
                    finalized only one standard—100 ppb inorganic arsenic in infant rice
                    cereal—Nurture has ignored it, setting its internal standard for that product
                    at 115 ppb.

        Nurture created internal standards but did not follow them. Nurture describes these
standards as “goal thresholds” that “are not used to make product disposition decisions and are
not a pre-condition to product release.” 84 Instead, its testing regime is limited to monitoring the
supply chain. Nurture’s thresholds are not actually used to prevent products that contain high
levels of toxic heavy metals from being sold. 85


         83
              Id.
         84
            Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
         85
              Id.




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        Nurture does not even claim to be testing for safety—it made clear in its letter response to
this Subcommittee that all products will be sold regardless of testing result: “our heavy metal
testing is performed as part of our monitoring program and not as a condition of product
release, all of the products that were tested were sold into commerce.” 86

       Nurture sells the products it tests, regardless of their toxic heavy metal content. In total,
Nurture tested 113 final products and sold every product tested, regardless of how much
inorganic arsenic or lead the product contained, and regardless of whether those metals exceeded
its own internal standards.

      As a result of this policy of not testing for safety, Nurture released products containing as
much as 641 ppb lead and 180 ppb inorganic arsenic. 87

        Nurture sold 29 products that were above its internal arsenic limit of 100 ppb, including
Apple & Broccoli Puffs that contained 180 ppb inorganic arsenic. Nurture’s standards “are not
used to make product disposition decisions and are not a pre-condition to product release.”
Instead, their testing regime is limited to monitoring the supply chain. 88

Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 89




        86
             Id.
        87
            Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
          88
             Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
         89
            Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).




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        Further, Nurture appears to have misled the Subcommittee about its testing standards. As
seen from Nurture’s goal thresholds pictured below, Nurture conveyed to the Subcommittee that
after January of 2019, it had a goal threshold of 50 ppb for lead in all of its baby food products—
infant formula, cereals, and wet foods. 90 However, in the test results that Nurture provided to
this Subcommittee, it was still using 100 ppb as an internal guideline after January 2019.

        This image is from Nurture’s December 18, 2019, response to the Subcommittee, stating
that after January of 2019, its lead threshold was 50 ppb in all baby food products: 91




        However, the chart below appears to show that after the date Nurture claims to have
moved to a 50 ppb lead standard—January 2019—Nurture was still using a “Goal Threshold” of
100 ppb for 53 baby food products. The fact that Nurture appears to have continued using a
higher standard up to nine months after it claimed to the Subcommittee to have lowered the
threshold casts serious doubt on Nurture’s candor in this matter.

Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 92



        90
            Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
        91
             Id.
         92
            Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).




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Product Name                          Parameter Goal        Result   Unit Date of
                                                Threshold                 Test
                                                                          Report
Blueberry Beet Rice Cakes             Lead        100       <4.0     ppb   10/14/19
Stage 3 Root Vegetable and Turkey     Lead        100       <4.0     ppb   10/11/19
Apple & Broccoli Puffs                Lead        100       5.8      ppb   10/10/19
Apple Cinnamon Oat Jar                Lead        100       <4.0     ppb   10/09/19
Apple Spinach Jar                     Lead        100       <4.0     ppb   10/09/19
Kale & Spinach Puffs                  Lead        100       9.7      ppb   10/09/19
Apple Mango Beet                      Lead        100       <4.0     ppb   08/22/19
Pear Prune Jar                        Lead        100       <4.0     ppb   08/22/19
Apple Spinach Pea & Kiwi              Lead        100       43       ppb   08/22/19
Pea Spinach Teether                   Lead        100       18       ppb   08/16/19
Strawberry Yogis                      Lead        100       <4.0     ppb   08/13/19
Sweet Potato & Carrot Puffs           Lead        100       7.7      ppb   07/25/19
Banana & Pumpkin Puffs                Lead        100       6.2      ppb   07/25/19
Apples Blueberries & Oats             Lead        100       <4.0     ppb   07/24/19
CC Oats & Quinoa Cereal               Lead        100       <4.0     ppb   07/24/19
Green Beans Jar                       Lead        100       <4.0     ppb   07/24/19
Pears Mangoes & Spinach               Lead        100       <4.0     ppb   07/24/19
Carrots                               Lead        100       <4.0     ppb   07/20/19
Pea Spinach Teether                   Lead        100       23       ppb   07/11/19
Apple & Broccoli Puffs                Lead        100       11       ppb   07/11/19
Kale & Spinach Puffs                  Lead        100       11       ppb   07/11/19
Mangoes                               Lead        100       <4.0     ppb   07/03/19
Sweet Potatoes Jar                    Lead        100       <4.0     ppb   07/03/19
CC Oats & Quinoa Cereal               Lead        100       <4.0     ppb   07/02/19
Harvest Vegetables & Chicken          Lead        100       <4.0     ppb   07/02/19
Apple Rice Cakes                      Lead        100       7.2      ppb   07/02/19
Blueberry Purple Carrot Greek Yogis   Lead        100       4.3      ppb   07/02/19
Apple & Broccoli Puffs                Lead        100       9.9      ppb   05/30/19
Strawberry & Beet Puffs               Lead        100       10       ppb   05/22/19
Apples & Spinach                      Lead        100       <4.0     ppb   05/15/19
Clearly Crafted Apple Guava Beet      Lead        100       <4.0     ppb   05/10/19
Sweet Potato Jar                      Lead        100       <4.0     ppb   05/10/19
Banana & Pumpkin Puffs                Lead        100       13       ppb   04/24/19
Sweet Potato & Carrot Puffs           Lead        100       7.7      ppb   04/24/19
Apple Pumpkin Carrots                 Lead        100       <4.0     ppb   04/12/19
Pea Spinach Teether                   Lead        100       23       ppb   04/12/19
Multi-Grain Cereal Canister           Lead        100       5.2      ppb   04/12/19
Carrots                               Lead        100       <4.0     ppb   04/11/19
Sweet Potato Jar                      Lead        100       <4.0     ppb   04/11/19
Apple Spinach Pea & Kiwi              Lead        100       34       ppb   03/29/19
Strawberry & Beet Puffs               Lead        100       7.8      ppb   03/21/19



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 Banana & Pumpkin Puffs                        Lead            100              5.5      ppb     03/21/19
 CC Oatmeal Cereal                             Lead            100              <4.0     ppb     03/18/19
 Carrots & Peas                                Lead            100              <4.0     ppb     03/13/19
 CC Prunes                                     Lead            100              <4.0     ppb     03/13/19
 Pears & Kale Jar                              Lead            100              <4.0     ppb     03/13/19
 Vegetable & Beef Medley                       Lead            100              <4.0     ppb     03/07/19
 Banana Sweet Potato Teether                   Lead            100              12       ppb     02/19/19
 Banana & Pumpkin Puffs                        Lead            100              11       ppb     02/19/19
 Blueberry Purple Carrot Teether               Lead            100              10       ppb     02/19/19
 Mangoes                                       Lead            100              <4.0     ppb     02/13/19
 Apple Mango Beet                              Lead            100              <4.0     ppb     02/12/19
 Strawberry Banana Greek Yogis                 Lead            100              <4.0     ppb     02/12/19

        Nurture has also ignored the only final standard that FDA has set. FDA set a 100 ppb
inorganic arsenic limit for infant rice cereal. Rather than comply with that limit, Nurture set its
internal standards 15% higher, at 115 ppb inorganic arsenic. 93

Excerpt of December 18, 2019, Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi 94




        B.         Beech-Nut set internal arsenic and cadmium standards at 3,000 ppb in
                   dangerous additives, such as vitamin mix, and 5,000 ppb lead for certain
                   ingredients like BAN 800. These standards are the highest of any responding
                   manufacturer.

       Beech-Nut has set an internal specification limit (listed in the chart below as “spec.”) of
3,000 ppb inorganic arsenic for certain ingredients, including vitamin mix. 95 As a result of

        93
            Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
        94
             Id.
         95
            Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).




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adopting this high internal standard, Beech-Nut has used ingredients containing 710.9, 465.2,
and 401.4 ppb arsenic. 96 Beech-Nut also set internal guidelines of 3,000 ppb for cadmium and
5,000 ppb for lead for certain ingredients. 97 These far surpass any existing regulatory standard in
existence and toxic heavy metal levels for any other baby food manufacturer that responded to
the Subcommittee’s inquiry.

Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 98




       Beech-Nut sold eleven products that surpassed its own internal cadmium limits. By
doing so, Beech-Nut accepted dehydrated potato containing 119.6, 143.5, and 148.4 ppb
cadmium, far surpassing its own internal limit of 90 ppb for that ingredient. 99




       96
            Id.
       97
            Id.
       98
            Id.
       99
            Id.




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Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 100




         Beech-Nut’s explanation of why it accepted products over its own internal limits was that
it did so “rarely” and the ingredients were “generally restricted to a 20% variance of BNN’s
allowable limits….” 101 However, as the cadmium examples show, Beech-Nut accepted certain
ingredients in spite of their own testing results which showed that they contained over 20% more
cadmium than their already-high internal limit. Beech-Nut’s internal limit for cadmium in
dehydrated potato appears to be 90 ppb. A 20% variance would permit Beech-Nut to accept
dehydrated potato containing up to 108 ppb cadmium. Nevertheless, Beech-Nut accepted three
shipments of dehydrated potato containing cadmium in excess of its 20% variance allowance. 102
Beech-Nut did not offer any explanation.

        C.          Hain (Earth’s Best Organic) set an internal standard of 200 ppb for arsenic,
                    lead, and cadmium in some of its ingredients. Hain justified deviations above
                    its ingredient testing standards based on “theoretical calculations,” even
                    after Hain admitted to FDA that its testing underestimated final product
                    toxic heavy metal levels.

        Hain set an internal standard of 200 ppb arsenic for 12 ingredients, most of which were
different kinds of flours. By setting this high internal standard, Hain justified accepting wheat
flour and rice that contained 200 and 150 ppb arsenic. 103



        100
              Id.
        101
            Letter from the President and Chief Executive Officer of Beech-Nut Nutrition Company to Chairman
Raja Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform
(Dec. 6, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/6_0.pdf).
        102
             Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).
          103
              Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).




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Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 104

 Lab Results         Product Description          Status         Arsenic Spec     Arsenic
 Date                                                            Limit (ppb)      Result (ppb)
 Aug/3/2017          Org Kamut Flour              Accepted       200              <100
 Aug/3/2017          Org Spelt Flour              Accepted       200              <100
 Jul/6/2017          Org Yellow Split Pea         Accepted       200              <100
                     Powder
 Jul/5/2017          Org Quinoa Flour             Accepted       200              <100
 May/26/2017         Org Soft White Wheat         Accepted       200              <100
                     Flour
 Aug/1/2017          Org Fiber Oat                Accepted       200              <100

 Sep/25/2017         Org Quinoa Flour             Accepted       200              <100
 Sep/12/2017         Org Spelt Flour              Accepted       200              <100

 Aug/4/2017          Org Spelt Flour              Accepted       200              <100

 Jul/19/2017         Org Green Lentil Flour       Accepted       200              <100

 Sep/29/2017         Org Soft White Wheat         Accepted       200              200
                     Flour
 Jul/13/2017         Medium Grain Whole           Accepted       200              150
                     Rice

        Similarly, Hain set an internal limit of 200 ppb for lead in five ingredients—forty times
higher than FDA’s guidance for bottled water. By doing so, Hain justified accepting lentil flour
with 110 ppb lead and quinoa flour with 120 ppb lead. These surpass every existing regulatory
standard for lead. 105

Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 106




       104
             Id.
       105
             Id.
       106
             Id.




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        Hain used four products that surpassed its internal toxic heavy metal limits. For example,
it accepted cinnamon that contained 102 ppb cadmium, vitamin pre-mix that had 223 ppb arsenic
and 353 ppb lead, and two rice flours that had 134 and 309 ppb arsenic. 107

Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 108




       Hain justified these variations by claiming that the “theoretical” final goods will not
surpass its internal limits. For example, Hain became aware that the vitamin pre-mix contained
223 ppb arsenic and 352 ppb lead. 109

Hain Deviation Report, Vitamin Premix (Nov. 26, 2019) 110




         Despite having dangerously high levels of toxic heavy metals, Hain approved the use of
this vitamin pre-mix based on a “theoretical” calculation of toxic heavy metals in the final
good. 111


        107
              Id.
        108
              Id.
        109
             Hain, Deviation Report, Vitamin Premix (Nov. 26, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/11_Redacted.pdf).
        110
              Id.
        111
              Id.




                                                        41
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Hain Deviation Report, Vitamin Premix (Nov. 26, 2019) 112




        To calculate the estimated quantity of lead and arsenic in the finished good, Hain
considered the percentage of rice flour and vitamin pre-mix in the finished goods, and their
projected amounts of arsenic and lead. Ultimately, Hain predicted that the finished good would
have roughly 85 ppb arsenic and 25 ppb lead. 113

Hain Deviation Report, Vitamin Premix (Nov. 26, 2019) 114




        However, it is not clear that Hain ever tested the finished good. Hain appears to have
used this vitamin pre-mix with dangerously high levels of toxic heavy metals without ever
confirming the finished good was actually safe to consume.

       Hain made this decision four months after it had made a secret presentation to FDA
admitting that heavily tainted vitamin premix caused dangerous levels of arsenic in its finished


       112
             Id.
       113
             Id.
       114
             Id.




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products, which initially went undetected because Hain did not test its finished products. 115 Hain
made no effort to correct the problem. Note: Full discussion of Hain’s secret presentation to
FDA appears in Section V., Parts D. and E., below.

IV.     WALMART, SPROUT ORGANIC FOODS, AND CAMPBELL REFUSED TO
        COOPERATE WITH THE SUBCOMMITTEE’S INVESTIGATION

        Nurture, Beech-Nut, Hain, and Gerber cooperated with the Subcommittee’s investigation,
despite the fact that doing so exposed their reckless disregard for the health of babies. With that
in mind, the Subcommittee questions why Walmart (Parent’s Choice), Sprout Organic Foods,
and Campbell (Plum Organics) would refuse to comply with the investigation. None of them
produced testing results or specific testing standards and Sprout never even responded to the
Subcommittee’s repeated inquiries. The Subcommittee is greatly concerned that these
companies might be obscuring the presence of even higher levels of toxic heavy metals in their
baby food products than their competitors’ products.

        A.       Walmart (Parent’s Choice Brand)

        Walmart refused to produce any documents showing its internal testing policies, its
testing results, or how Walmart treats ingredients and/or products that surpass any internal
standards.

       Walmart’s evasion is concerning, as even limited independent testing has revealed the
presence of toxic heavy metals in its baby food.

Data from Healthy Babies Bright Futures Report: What’s in My Baby’s Food? 116




         115
             Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
(Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
        116
            Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
(online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).




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Walmart (Parent’s Choice) Baby Food that Tested High in Toxic Heavy Metals 117




        B.          Campbell (Plum Organics Brand)

       Campbell refused to produce its testing standards and specific testing results to the
Subcommittee. Campbell has hidden its policies and the actual level of toxic heavy metals in its
products.

        Instead of producing any substantive information, Campbell provided a spreadsheet self-
declaring that every one of its products “meets criteria.” 118 Campbell declined to state what
those criteria are.

Campbell’s Product Heavy Metal Test Results (Excerpted Entries) 119




        117
          Walmart, Parent’s Choice Organic Strawberry Rice Rusks (online at www.walmart.com/ip/Parent-s-
Choice-Organic-Baby-Rusks-Strawberry-Flavored/171533478) (accessed on Jan. 26, 2021).
        118
             Campbell, Product Heavy Metal Test Results (Dec. 11, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/12.pdf).
        119
              Id.




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       Campbell’s testing summary hides more than it reveals, since it does not show the levels
of heavy metals that the testing found or the levels of heavy metals that would “meet criteria.”

        The Subcommittee was disturbed that, for mercury, which is a powerful neurotoxin,
Campbell notes with asterisks that it has no criterion whatsoever, stating: “No specific threshold
established because no high-risk ingredients are used.” 120 However, despite Campbell having no
mercury threshold, Campbell still marked every food as “meets criteria” for mercury. 121 This
misleading framing—of meeting criteria that do not exist—raises questions about what
Campbell’s other thresholds actually are, and whether they exist.

       Campbell’s evasion is concerning, as even limited independent testing has revealed the
presence of toxic heavy metals in its baby food.

Data from Healthy Babies Bright Futures Report: What’s in My Baby’s Food? 122




        120
              Id.
        121
              Id.
        122
            Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
(online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).




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Plum Organics’ Foods That Tested High in Toxic Heavy Metals 123




        C.       Sprout Organic Foods

        Sprout Organic Foods did not respond to the Subcommittee at all. Despite numerous
emails to executives and its general information email address, as well as numerous attempts to
reach the Sprout central office by telephone, Sprout never responded or made contact with the
Subcommittee.

        Sprout Organic Foods was acquired by North Castle Partners, a Greenwich, Connecticut
private equity firm, in 2015. North Castle Partners also owns such well-known brands as Curves
International/Jenny Craig, Palladio Beauty Group, Mineral Fusion, Red Door Spas, Performance
Bicycles, Octane Fitness, Ibex Outdoor Clothing, and Doctor's Best. 124

        Whether due to evasion or negligence, Sprout’s failure to respond raises serious concerns
about the presence of toxic heavy metals in its baby foods, as even limited independent testing
has revealed the presence of toxic heavy metals in its products.



        123
           Plum Organics, Little Teethers, Banana with Pumpkin (online at
www.plumorganics.com/products/banana-with-pumpkin-wafers/) (accessed Jan. 26, 2021); Plum Organics, Mighty
Morning Bar, Blueberry Lemon (online at www.plumorganics.com/products/blueberry-lemon-bar/) (accessed Jan.
26, 2021).
        124
            North Castle Partners, Press Release: North Castle Partners Invests in Sprout Organic Foods, Inc.
(June 29, 2015) (online at www.northcastlepartners.com/wp-content/uploads/2016/01/North-Castle_Sprout-Press-
Release.pdf).




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Data from Healthy Babies Bright Futures Report: What’s in My Baby’s Food? 125




Sprout Organic Food That Tested High in Toxic Heavy Metals 126




V.      FDA HAS FAILED TO CONFRONT THE RISKS OF TOXIC HEAVY METALS IN
        BABY FOOD. THE TRUMP ADMINISTRATION IGNORED A SECRET INDUSTRY
        PRESENTATION ABOUT HIGHER AMOUNTS OF TOXIC HEAVY METALS IN
        FINISHED BABY FOODS.

        Despite the well-known risks of harm to babies from toxic heavy metals, FDA has not
taken adequate steps to decrease their presence in baby foods. FDA has not issued thresholds for
the vast majority of toxic heavy metals in baby foods and does not require warning labels on any
baby food products. In the summer of 2019, FDA received a secret presentation from a baby

         125
             Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
(online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
        126
            Sprout Organic Foods, Quinoa Puffs, Apple Kale (online at www.sproutorganicfoods.com/babies/6-
months-and-up/plant-power-puffs/apple-kale-plant-power-puffs) (accessed Jan. 26, 2021).




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food manufacturer that revealed that the commercial process of preparing finished baby foods
increases their levels of toxic heavy metals. For that manufacturer, Hain (HappyBABY), the
process increased inorganic arsenic levels between 28% and 93%. Yet, FDA took no apparent
action.

        In May 2017, FDA established the Toxic Elements Working Group with the goal of
reducing exposure to toxic elements in food, cosmetics, and dietary supplements. FDA claims
that the Toxic Elements Working Group is focusing on metals “because high levels of exposure
to those metals are likely to have the most significant impact on public health,” and “can be
especially harmful to children because of concerns about effects on their neurological
development.” 127 But the working group has not resulted in new or stronger regulations to
protect babies from toxic heavy metals in their food.

        A.          Mercury and Cadmium

        FDA has acknowledged the dangers of mercury. Mercury has “no established health
benefit” and has been “shown to lead to illness, impairment, and in high doses, death.” 128 FDA
has acknowledged the added risk to babies and children, noting that it is: “paying special
attention to children because their smaller body sizes and metabolism may make them more
susceptible to the harmful effects of these metals,” including mercury. 129

        Despite these statements, FDA has taken no action to limit mercury in baby food.
Instead, FDA has only set mercury standards for wheat, and fish, shellfish, and crustaceans, and
they are high—1,000 ppb. 130 There are no FDA protections for mercury in baby food.

        The lack of FDA action on mercury standards stands in contrast to other regulators. The
EPA, for example, set a limit of 2 ppb mercury in drinking water, even after taking into account
the cost of attainment for industry. 131




        127
            Food and Drug Administration, Metals and Your Food (online at www.fda.gov/food/chemicals-metals-
pesticides-food/metals-and-your-food) (accessed Jan. 26, 2021); Food and Drug Administration, What FDA Is
Doing to Protect Consumers from Toxic Metals in Foods (Apr. 20, 2018) (online at
www.fda.gov/food/conversations-experts-food-topics/what-fda-doing-protect-consumers-toxic-metals-foods).
        128
            Food and Drug Administration, Metals and Your Food (online at www.fda.gov/food/chemicals-metals-
pesticides-food/metals-and-your-food) (accessed Jan. 26, 2021).
        129
              Id.
        130
            Food and Drug Administration, Guidance for Industry: Action Levels for Poisonous or Deleterious
Substances in Human Food and Animal Feed (Aug. 2000) (online at www.fda.gov/regulatory-information/search-
fda-guidance-documents/guidance-industry-action-levels-poisonous-or-deleterious-substances-human-food-and-
animal-feed).
        131
            Environmental Protection Agency, Ground Water and Drinking Water (online at www.epa.gov/ground-
water-and-drinking-water/national-primary-drinking-water-regulations) (accessed Jan. 26, 2021).




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        Similarly, FDA has taken no action on cadmium in baby food. FDA has issued only one
guideline for cadmium, and that is a limit of 5 ppb for bottled water. 132 The EU has instituted a
limit of 10-15 ppb for infant formula. 133

        B.          Lead

       FDA acknowledges that there is “no identified safe blood lead level” and that lead is
especially dangerous to children:

        Lead is especially harmful to vulnerable populations, including infants, young
        children, pregnant women and their fetuses, and others with chronic health
        conditions. High levels of lead exposure can seriously harm children’s health and
        development, specifically the brain and nervous system. Neurological effects
        from high levels of lead exposure during early childhood include learning
        disabilities, behavior difficulties, and lowered IQ. Because lead can accumulate
        in the body, even low-level chronic exposure can be hazardous over time. 134

        FDA has taken action on bottled water, limiting lead to 5 ppb. 135 FDA has also taken
steps toward regulating lead content in products for older children. FDA has released guidance
recommending a maximum lead level of 100 ppb in candy likely to be consumed by children,
and 50 ppb in some juices. 136 It is not sound logic to say that water is unsafe to drink if it
contains over 5 ppb lead, but candy and fruit juice can be ten and twenty times higher than that
limit.

        Unfortunately, it appears that FDA designed these limits to be protective of industry. In
its “Supporting Document for Recommended Maximum Level for Lead in Candy,” FDA
repeatedly emphasizes achievability by industry, as opposed to safety for children:

        •           “FDA believes that sugar-based candy products can be made with lead levels
                    below” [100 ppb].”
        •           “We believe that if milk chocolate manufacturers source their raw materials
                    appropriately, lead levels in their finished products will not exceed [100 ppb]
                    lead.”
        •           “We believe that, if dark chocolate manufacturers source their raw materials
                    appropriately, lead levels in their finished products will not exceed [100 ppb].”



        132
          21 C.F.R. § 165 (2019) (online at
www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/cfrsearch.cfm?fr=165.110).
         133
             European Union, Setting Maximum Levels for Certain Contaminants in Foodstuffs (Dec. 19, 2006)
(online at https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=CELEX:02006R1881-20150521).
        134
          Food and Drug Administration, Lead in Food, Foodwares, and Dietary Supplements (online at
www.fda.gov/food/metals-and-your-food/lead-food-foodwares-and-dietary-supplements) (accessed Jan. 26, 2021).
        135
              Id.
        136
              Id.




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        •        “[E]ven for high-chili-content candy and powdered snack mix products, we
                 believe that candy with appropriately sourced ingredients will not exceed [100
                 ppb] lead.”
        •        “We believe that if manufacturers source salt to minimize lead levels, finished,
                 high-salt- content powdered snack mix products will not exceed [100 ppb]
                 lead.” 137

        But FDA has failed to regulate lead levels in baby foods. Manufacturers are free to set
their own limits. Hain, for example, used internal soft limits of 100 and 200 ppb lead for the
majority of its ingredients.

        FDA has created what it calls an Interim Reference Level (IRL) for lead, but this
standard does not apply to manufacturers and is unhelpful for parents purchasing baby food. An
Interim Reference Level is what FDA calls a calculation of “the maximum daily intake for lead
from food.” 138 Above this limit, a person or baby’s blood level would reach a “point of
concern.” FDA’s current IRL is 3 µg per day for children. This standard, though perhaps
helpful to FDA in researching and evaluating how lead affects our nation’s children, is
unworkable for parents. For this standard to be useful to a parent, they would need to know:

        •        what a µg is (it stands for a microgram);
        •        how much lead is in each product they are serving their baby;
        •        how much lead their child is exposed to through tap water; and
        •        how much lead is in their local environment, such as through lead-based paints.

        Obtaining this information is currently impossible for parents because baby food
manufacturers do not publicly provide information on the amount of lead in their products.
Given the information gaps parents face, it would be most appropriate for FDA to promulgate
clear rules for baby food manufacturers that limit the amount of lead in baby food.

        C.       Arsenic

        In the context of arsenic in baby food, there are only two FDA regulations for specific
products—an unenforceable draft guidance issued in July 2013, but never finalized,
recommending an action level of 10 ppb for inorganic arsenic in single-strength (ready to drink)
apple juice, and an August 2020 final guidance, setting an action level for inorganic arsenic in
infant rice cereals at 100 ppb. 139


        137
           Food and Drug Administration, Supporting Document for Recommended Maximum Level for Lead in
Candy Likely to Be Consumed Frequently by Small Children (Nov. 2006) (online at www.fda.gov/food/metals-and-
your-food/supporting-document-recommended-maximum-level-lead-candy-likely-be-consumed-frequently-small)
(emphasis added).
        138
          Food and Drug Administration, Lead in Food, Foodwares, and Dietary Supplements (online at
www.fda.gov/food/metals-and-your-food/lead-food-foodwares-and-dietary-supplements) (accessed Jan. 26, 2021).
        139
            Food and Drug Administration, Draft Guidance for Industry: Action Level for Arsenic in Apple Juice
(July 2013) (online at www.fda.gov/regulatory-information/search-fda-guidance-documents/draft-guidance-
industry-action-level-arsenic-apple-juice); Food and Drug Administration, Guidance for Industry: Action Level for



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       The first problem with these standards is that they cover only a small sliver of the foods
babies eat.

        The second problem is that they are far too lax to be protective of babies. There is no
established safe level of inorganic arsenic consumption for babies. Arsenic exposure has a
“significant negative effect on neurodevelopment.” 140 FDA acknowledged that “Low-to-
moderate levels of inorganic arsenic appear to be associated with adverse health effects during
childhood.” 141 Children exposed to water with an arsenic concentration of just 5 ppb “showed
significant reductions in Full Scale, Working Memory, Perceptual Reasoning and Verbal
Comprehension scores.” 142 This suggests that 5 ppb may be an important threshold, or that the
threshold of safety may fall far below that.

         Healthy Babies Bright Futures has called for a goal of no measurable amount of inorganic
arsenic in baby food. 143 Consumer Reports suggests that the level of inorganic arsenic should be
set as low as 3 ppb for water and fruit juices. 144

        FDA has already set inorganic arsenic levels at 10 ppb for bottled water. 145 EPA has
similarly set a 10 ppb inorganic arsenic cap on water, as have the European Union and the World
Health Organization. 146




Inorganic Arsenic in Rice Cereals for Infants (Aug. 2020) (online at www.fda.gov/regulatory-information/search-
fda-guidance-documents/guidance-industry-action-level-inorganic-arsenic-rice-cereals-infants).
        140
            Miguel Rodríguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure with
Neurodevelopment and Behavioural Disorders in Children: A Systematic Review and Meta-Analysis (Apr. 9, 2013)
(online at www.sciencedirect.com/science/article/abs/pii/S0048969713003409?via%3Dihub).
        141
            Food and Drug Administration, Arsenic in Rice and Rice Products Risk Assessment Report (Mar. 2016)
(online at www.fda.gov/files/food/published/Arsenic-in-Rice-and-Rice-Products-Risk-Assessment-Report-
PDF.pdf).
        142
            Gail A. Wasserman et al., A Cross-Sectional Study of Well Water Arsenic and Child IQ in Maine
Schoolchildren (Apr. 1, 2014) (online at https://ehjournal.biomedcentral.com/articles/10.1186/1476-069X-13-23).
        143
            Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
(online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
        144
            Consumer Reports, Arsenic in Some Bottled Water Brands at Unsafe Levels, Consumer Reports Says
(June 28, 2019) (online at www.consumerreports.org/water-quality/arsenic-in-some-bottled-water-brands-at-unsafe-
levels/); Consumer Reports, Arsenic and Lead Are in Your Fruit Juice: What You Need to Know (Jan. 30, 2019)
(online at www.consumerreports.org/food-safety/arsenic-and-lead-are-in-your-fruit-juice-what-you-need-to-know/).
        145
          Food and Drug Administration, Arsenic in Food and Dietary Supplements (online at
www.fda.gov/food/metals-and-your-food/arsenic-food-and-dietary-supplements) (accessed Jan. 26, 2021).
        146
             Environmental Protection Agency, Drinking Water Requirements for States and Public Water Systems
(online at www.epa.gov/dwreginfo/chemical-contaminant-rules) (accessed Jan. 26, 2021); The European Food
Information Council, Arsenic (Q&A) (online at www.eufic.org/en/food-safety/article/arsenic-qa) (accessed Jan. 26,
2021); World Health Organization, Arsenic (Feb. 15, 2018) (online at www.who.int/news-room/fact-
sheets/detail/arsenic).




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        FDA is fully aware of the dangers that inorganic arsenic presents to young children,
stating that:

        There is growing evidence … that exposure to inorganic arsenic
        during…infancy…may increase the risk of adverse health effects, including
        impaired development during…childhood and neurodevelopmental toxicity in
        infants and young children, and that these adverse effects may persist later in life
        …. [C]hildren may likewise be particularly susceptible to neurotoxic effects of
        inorganic arsenic, e.g., as manifested in intelligence test results in children ….
        Also, children three years and younger have the highest exposure to inorganic
        arsenic because they have 2-3-fold higher intakes of food on a per body mass
        basis as compared to adults. Therefore, a child’s daily exposure to contaminants
        in food, such as inorganic arsenic in rice, could potentially be much higher than
        that of adults. 147

        Yet, in the one category of baby food for which FDA has finalized a standard—infant
rice cereal—it set the maximum inorganic arsenic content at the dangerous level of 100 ppb.

        Why did FDA set its level so high? Because in developing the limit, FDA was focused
on the level of inorganic arsenic that would cause cancer. FDA disregarded the risk of
neurological damage, which happens at a much lower level. In its 2016 Risk Assessment Report,
FDA was able to quantify the risk of lung and bladder cancer that inorganic arsenic presents. It
was not able to quantify the risks of neurological development for infants. 148 As a result, the 100
ppb limit is too high to adequately protect infants and children from the effects of inorganic
arsenic.

       The third problem is that FDA’s piecemeal approach of setting different inorganic arsenic
standards for different products is logically unsound. There can be only one safe level for
inorganic arsenic in the foods that babies consume. All finished baby food products should
accord with this safe level.

       Aside from these guidance documents for infant rice cereal and apple juice, FDA does
not regulate toxic heavy metals in other baby food products.

        One example of how this approach is failing is with FDA’s decision to release draft
guidance for apple juice, but not any other fruits juices. Based on the testing results the
Subcommittee reviewed, baby food companies routinely exceed this draft limit of 10 ppb in
other types of commonly consumed juices. Gerber, for example, used grape juice concentrate
registering at 39 ppb inorganic arsenic. But because it was grape juice, as opposed to apple


        147
            Food and Drug Administration, Supporting Document For Action Level For Inorganic Arsenic In Rice
Cereals For Infants (Aug. 2020) (online at www.fda.gov/food/chemical-metals-natural-toxins-pesticides-guidance-
documents-regulations/supporting-document-action-level-inorganic-arsenic-rice-cereals-infants#introduction).
        148
            Food and Drug Administration, Arsenic in Rice and Rice Products Risk Assessment Report (Mar. 2016)
(online at www.fda.gov/files/food/published/Arsenic-in-Rice-and-Rice-Products-Risk-Assessment-Report-
PDF.pdf).




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juice—which, from a safety perspective, is a distinction without a difference—Gerber
incorporated in its products juice concentrate with high arsenic levels.

        The fourth problem with FDA’s piecemeal approach is that it appears designed to be
protective of baby food manufacturers. In developing the infant rice cereal limit of 100 ppb,
FDA considered an “achievability assessment.” The achievability assessment considered
“manufacturers’ ability to achieve hypothetical maximum limits for inorganic arsenic in infant
rice cereals….” 149 FDA considered samples taken from three time periods: 2011-2013, 2014,
and 2018. As shown below, over time, the number of samples that tested under 100 ppb
inorganic arsenic increased from 36% to 76% of the total number of samples. FDA noted that
this increase meant “alternate sources of rice are available to enable infant rice cereal
manufacturers to supply the market and meet the” 100 ppb level. 150 In short, FDA’s standard
reflects manufacturers’ ease of compliance, rather than babies’ safety.

        If it is not possible, or it is exceedingly costly, to source ingredients like rice that achieve
a safe level, then baby food manufacturers should find substitutes for those ingredients. Our
nation’s children should not bear lifelong health burdens because of a manufacturer’s preference
for tainted ingredients.

        D.          The Trump Administration Ignored A Secret Industry Presentation About
                    Higher Risks Of Toxic Heavy Metals In Baby Foods.

        On August 1, 2019, the Trump administration received a secret industry presentation that
disclosed higher risks of toxic heavy metals in finished baby food products. Hain (Earth’s Best
Organic) revealed the finding in a presentation to FDA entitled “FDA Testing Result
Investigation.” 151




        149
            Food and Drug Administration, Supporting Document for Action Level for Inorganic Arsenic in Rice
Cereals for Infants (Aug. 2020) (online at www.fda.gov/food/chemical-metals-natural-toxins-pesticides-guidance-
documents-regulations/supporting-document-action-level-inorganic-arsenic-rice-cereals-infants#introduction).
        150
              Id.
         151
             Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
(Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).




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       Hain revealed that half (10 of 21) of the finished rice products that Hain tested contained
100 ppb or more of inorganic arsenic—exceeding FDA’s standard for infant rice cereal. One
product contained almost 30% more, registering at 129 ppb inorganic arsenic.




        Hain’s average level of inorganic arsenic in its finished rice foods was 97.62 ppb, which
nearly matches FDA’s dangerously high 100 ppb level for inorganic arsenic for infant rice
cereal.

         Hain claims that it “revised its internal policies and testing standards to conform to
FDA’s non-binding recommendations.” 152 In 2016, FDA instituted draft guidance (which is now
final) for inorganic arsenic in infant rice cereal at the dangerously high level of 100 ppb.
However, Hain has not consistently abided by those limits.

        FDA also learned that Hain’s policy to test ingredients underrepresented the levels of
toxic heavy metals in its finished baby foods. Hain’s finished products contained between 28%
and 93% more inorganic arsenic than Hain estimated they would based on Hain’s ingredient

        152
            Letter from Kelly B. Kramer, Counsel for The Hain Celestial Group, Inc. to Chairman Raja
Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform (Dec. 11,
2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/9_Redacted.pdf).




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testing method. 153 Hain found higher levels of arsenic in all finished foods tested for this FDA
presentation than were reflected in tests of individual raw ingredients. This revelation means
that every single finished good containing brown rice had more arsenic than the company’s
estimates, which were based on testing the raw ingredients.

        After seeing these results, FDA was put on notice that finished baby foods pose an even
higher risk to babies than reflected in company tests of the raw ingredients that go into those
finished products.

Final Product Data Compared to Raw Ingredient Data, From Hain’s Presentation to FDA 154




        Hain admitted to FDA in its presentation that “Brown Rice Flour testing results do not
appear to be correlated to finished good results data.” 155 They are not correlated because the
finished goods can contain as much as double the amount of arsenic as the raw ingredients.

        153
            Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
(Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
        154
              Id.
        155
              Id.




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        What can account for this increase in inorganic arsenic from the time the ingredients are
tested to the time the products are finished? Hain conveyed to FDA that the cause of the increase
was Hain’s use of a dangerous additive, stating: “Preliminary investigation indicates
Vitamin/Mineral Pre-Mix may be a major contributing factor.” Although this additive may only
make up roughly 2% of the final good, Hain suggested it was still responsible for the spike in the
levels of inorganic arsenic in the finished baby food. 156

       Hain’s finding accords with the Subcommittee’s own. In the test results we reviewed,
Hain used vitamin pre-mix that contained 223 ppb arsenic. 157 This ingredient also contained 352
ppb lead, a matter not even addressed in the FDA presentation.

Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entry) 158




       Therefore, naturally occurring toxic heavy metals may not be the only problem causing
dangerous levels of toxic heavy metals in baby foods; rather, baby food producers like Hain are
adding ingredients that have high levels of toxic heavy metals into their products, such as
vitamin/mineral pre-mix.

         FDA did not appear to take any unplanned actions on behalf of babies’ safety after it
received Hain’s presentation. FDA did finalize a previously planned guidance, setting a limit of
100 ppb inorganic arsenic in infant rice cereal. But it did not initiate regulation of additives like
Hain’s vitamin/mineral pre-mix. Moreover, it has not mandated that baby food manufacturers
test finished goods.

        E.          Corporate Testing Policies Hide the Truth: In Addition to Hain, Beech-Nut
                    and Gerber Also Fail to Test Finished Product, Risking an Undercount of
                    Toxic Heavy Metals in Their Finished Baby Foods.

       Hain (Earth’s Best Organic) revealed to FDA that its policy to test only its ingredients,
and not its final product, is underrepresenting the levels of toxic heavy metals in its baby foods.
Unfortunately, Hain is not alone. The majority of baby food manufacturers, including Beech-
Nut and Gerber, employ the same policy of testing only ingredients. 159 That policy recklessly

        156
              Id.
        157
             Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).
        158
              Id.
         159
             Letter from the President and CEO of Beech-Nut Nutrition Company to Chairman Raja
Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform (Dec. 6,
2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/6_0.pdf) (“we do not test
finished goods”); Letter from the Chief Executive Officer of Gerber Products Company to Chairman Raja
Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform (Dec. 19,



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endangers babies and children and prevents the companies from even knowing the full extent of
the danger presented by their products.

        As the Hain presentation lays bare, ingredient testing does not work. Hain’s finished
baby foods had more arsenic than their ingredients 100% of the time—28-93% more inorganic
arsenic. 160 That means that only testing ingredients gives the false appearance of lower-than-
actual toxic heavy metal levels.

VI.      RECOMMENDATIONS AND CONSIDERATIONS FOR INDUSTRY, PARENTS, AND
         REGULATORS: DO HIGHLY TAINTED INGREDIENTS LIKE RICE BELONG IN
         BABY FOOD?

       Baby food manufacturers hold a special position of public trust. Consumers believe that
they would not sell unsafe products. Consumers also believe that the federal government would
not knowingly permit the sale of unsafe baby food. As this staff report reveals, baby food
manufacturers and federal regulators have broken the faith.

        Step one to restoring that trust is for manufacturers to voluntarily and immediately reduce
the levels of toxic heavy metals in their baby foods to as close to zero as possible. If that is
impossible for foods containing certain ingredients, then those ingredients should not be included
in baby foods.

      One example of an ingredient that might not be suitable for baby foods is rice.
Throughout this report, rice appeared at or near the top of every list of dangerous baby foods.

         •           For Hain (Earth’s Best Organic), organic brown rice was the ingredient that tested
                     highest in inorganic arsenic—309 ppb. Indeed, the majority of Hain ingredients
                     that exceeded 100 ppb inorganic arsenic in testing (13 of 24) were organic brown
                     rice flour. 161
         •           For Beech-Nut, the majority of its ingredients that tested over 100 ppb inorganic
                     arsenic (27 of 45) were rice-based (either rice, rice flour, or organic rice). 162




2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/7_Redacted.pdf) (Gerber’s
policy is to “regularly test our ingredients, and periodically test… finished goods”); Hain, Testing And Release
Procedure For Baby Food Ingredients (Dec. 11, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/8_Redacted.pdf) (Hain only tests raw
ingredients; their testing policy applies only to ingredients and the vast majority of the testing information they
provided to the Subcommittee was raw ingredient testing.).
         160
            Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
(Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
         161
               Id.
         162
             Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).




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        •        A significant number of the Nurture products that exceeded 100 ppb inorganic
                 arsenic were rice products. 163
        •        Gerber used 67 batches of rice flour with over 90 ppb inorganic arsenic. 164

        Further, rice and rice flour constitute a large proportion by volume of the baby foods that
contain them. Therefore, increased toxic heavy metal levels in rice and rice flour could have a
significant impact on the safety of the finished product.

       If certain ingredients, like rice, are highly tainted, the answer is not to simply lower toxic
heavy metal levels as much as possible for those ingredients, the answer is to stop including
them in baby foods. The Subcommittee urges manufacturers to make this change voluntarily.

        Similar considerations must be made for other ingredients that consistently contain higher
levels of toxic heavy metals—ingredients like cinnamon, amylase, BAN 800, and vitamin
premix. Manufacturers suggest that these additives, though high in toxic heavy metals, are not a
concern because they make up a low percentage of the final food product. However, those
manufacturers do not test their final food products, which is the only way to determine safety.
Manufacturers should voluntarily commit to testing all of their finished baby food products, as
opposed to just the ingredients. If they refuse, FDA should require them to do so.

        The Subcommittee recommends the following:

        •        Mandatory Testing: Only one of the companies reviewed by the Subcommittee
                 routinely tests its finished baby foods, even though the industry is aware that toxic
                 heavy metals levels are higher after food processing. Baby food manufacturers
                 should be required by FDA to test their finished products for toxic heavy metals,
                 not just their ingredients.
        •        Labeling: Manufacturers should by required by FDA to report levels of toxic
                 heavy metals on food labels.
        •        Voluntary Phase-Out of Toxic Ingredients: Manufacturers should voluntarily
                 find substitutes for ingredients that are high in toxic heavy metals, or phase out
                 products that have high amounts of ingredients that frequently test high in toxic
                 heavy metals, such as rice.
        •        FDA Standards: FDA should set maximum levels of inorganic arsenic, lead,
                 cadmium, and mercury permitted in baby foods. One level for each metal should
                 apply across all baby foods. The level should be set to protect babies against the
                 neurological effects of toxic heavy metals.
        •        Parental Vigilance: Parents should avoid baby food products that contain
                 ingredients testing high in heavy metals, such as rice products. The
                 implementation of recommendations one through four will give parents the
                 information they need to make informed decisions to protect their babies.

        163
             Nurture, Heavy Metal Test Results For Baby Food Products (Dec. 18, 2019) (online at
http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
          164
              Gerber, Raw Material Heavy Metal Testing (Dec. 9, 2019) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).




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VII.     CONCLUSION

        The Subcommittee’s investigation proves that commercial baby foods contain dangerous
levels of arsenic, lead, mercury, and cadmium. These toxic heavy metals pose serious health
risks to babies and toddlers. Manufacturers knowingly sell these products to unsuspecting
parents, in spite of internal company standards and test results, and without any warning labeling
whatsoever.

        Last year, the Trump administration ignored new information contained in a secret
industry presentation to federal regulators about toxic heavy metals in baby foods. On August 1,
2019, FDA received a secret slide presentation from Hain, the maker of Earth’s Best Organic
baby food, which revealed that finished baby food products contain even higher levels of toxic
heavy metals than estimates based on individual ingredient test results. One heavy metal in
particular, inorganic arsenic, was repeatedly found to be present at 28-93% higher levels than
estimated.

        The time is now for FDA to determine whether there is any safe exposure level for babies
to inorganic arsenic, lead, cadmium, and mercury, to require manufacturers to meet those levels,
and to inform consumers through labels.




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